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                                                                        July 16, 2013
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6/25/13      BPG      TC D. Lowenthal re: discovery issues,              2.10      $1,396.50
                      additional research re: same (.4); OC C. Dent,
                      R. Rennagel, and K. Edwards re: same and
                      additional follow-up re: same (.8); follow-up
                      re: same (.2); OC D. Lowenthal and C. Dent re:
                      same, additional follow-up re: same (.7).
6/25/13      CWD E-mails and follow-up re discovery call, call          2.00       $1,010.00
                   w/clients re same (1.1); OC B. Guiney re
                   related issues (.2); meeting w/D. Lowenthal
                   and B. Guiney re same (.5); reviewing docket
                   (.2).
6/25/13      DAL Work on document production issues (1.0); e-           1.30       $1,118.00
                  mails with J. Heaney (.3).
6/26/13      BPG Review docket (.1); follow-up D. Lowenthal             1.20         $798.00
                   and C. Dent re: interrogatories (.2); follow-up
                   re: other open issues, follow-up re: discovery in
                   the UK (.2); TC C. Dent and D. Lowenthal (for
                   part) re: interrogatory responses, follow-up re:
                   same (.6); TC B. Kahn re: same, follow-up D.
                   Lowenthal and C. Dent re: same (.1).
6/26/13      CWD Call w/J. Heaney re UK discovery issues, OC            1.60         $808.00
                  D. Lowenthal re same (.5); TC B. Guiney re
                  same, e-mails re same (.1); e-mails re
                  interrogatories (.3); calls re interrogatories and
                  related issues (.6); reviewing docket, e-mails
                  w/D. Lowenthal and B. Guiney re same (.1).
6/26/13      DAL Work on document discovery issues (1.4);               2.70       $2,322.00
                  review and revise draft interrogatory responses,
                  and e-mails with S. Miller re same (1.3).
6/27/13      BPG     Revise interrogatory responses and follow-up,      2.80       $1,862.00
                     send final versions to J. Heaney and S. Miller
                     (.3); OC D. Lowenthal and C. Dent re: open
                     issues (.3); participate on Committee call and
                     follow-up re: same (1.0); finalize interrogatory
                     response, follow-up D. Lowenthal and C. Dent
                     re: document discovery (.5); follow-up D.
                     Lowenthal re: interrogatories (.1); additional
                     follow-up re: same (.2); TC R. Rennagel re:
                     discovery, e-mail J. Heaney re: same, discuss
                     same with C. Dent (.4).



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6/27/13      CWD Committee call, OC D. Lowenthal and B.                    2.10        $1,060.50
                  Guiney re same and discovery issues (1.2); call
                  w/UK counsel re UK discovery issues, OC D.
                  Lowenthal re same (.6); reviewing docket (.1);
                  begin reviewing Core Parties' interrogatories
                  (.2).
6/27/13      DAL Review pleading in support of motion to                  7.10         $6,106.00
                   expedite appeal (.4); prepare for and participate
                   in Committee call and related follow-up (2.0);
                   finalize and serve interrogatory responses (1.1);
                   detailed review of production issues with UK
                   counsel (.8); memo to J. Heaney re same (1.1);
                   e-mails with Committee counsel re Committee
                   interrogatory responses (.6); confer with
                   colleagues re same (.3); initial review of other
                   Core Parties' interrogatory responses (.8).
6/28/13      BPG     Review interrogatory responses, follow-up re:        3.80         $2,527.00
                     same (1.1); follow-up D. Lowenthal re: same
                     (.3); attention to appeal issues (Debtors' letter,
                     EMEA response) (.7); attention to document
                     production, multiple e-mails and TCs re: same
                     (.7); draft notice of substantial progress and
                     follow-up re: same (.5); more attention to
                     document production/review, follow-up K.
                     Edwards re: same (.3); follow-up re: notice of
                     service (.1); review docket (.1).
6/28/13      CWD OC L. Carvaho re allocation litigation index             0.60           $303.00
                  (.1); reviewing letters to Judge Stark re EMEA
                  appeals (.2); e-mails re discovery files, OC B.
                  Guiney and D. Lowenthal re same and
                  interrogatories (.3).
6/28/13      DAL Review of identification interrogatory                   3.80         $3,268.00
                   responses (.8); review consolidated discovery
                   requests and responses (.7); review Ontario
                   appellate decision denying leave to appeal (.7);
                   e-mail with counsel in UK (.1); work on billing
                   (.5); review and revise draft certification re
                   documents (1.0).




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6/28/13      LC    Review and organization of documents in         3.20       $752.00
                   connection with allocation interrogatory
                   responses (3.2).

                                                Total Services   188.80   $121,103.00




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             Daniel A. Lowenthal       63.00     hours at   $860.00 $54,180.00
             Craig W. Dent             71.80     hours at   $505.00 $36,259.00
             Brian P. Guiney           41.80     hours at   $665.00 $27,797.00
             Leonardo Carvalho         12.20     hours at   $235.00 $2,867.00


                   Messenger Service                                      17.00
                   CourtCall                                             244.88
                   Tvl. Transportation/Lodging                           834.50

                                                  Total Expenses                    $1,096.38


                                                  Total This Invoice              $122,199.38




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                       Patterson Belknap Webb & Tyler L LP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

 Law Debenture Trust Company of New York                                          Invoice No. 778926
 400 Madison Avenue                                                               August 19, 2013
 New York, NY 10017                                                               FEI No. XX-XXXXXXX

 Re: NORTEL                                                                       L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                  July 31, 2013 In Connection With The Following:


7/1/13          BPG       Review docket (.1); revise notice for filing on          1.00           $665.00
                          Wednesday and circulate (.2); consider
                          document review parameters with C. Dent,
                          review document requests (.5); follow-up K.
                          Edwards re: status (.1); follow-up re: notice
                          (.1).
7/1/13          CWD       OC B. Guiney re Law Debenture documents                  0.70           $353.50
                          (.2); reviewing docket (.1); follow-up re
                          interrogatories (.4).
7/1/13          DAL       Review certification re document production              1.00          $860.00
                          (1.0).
7/2/13          BPG       Review and revise certification (.2); follow-up          3.40        $2,261.00
                          K. Edwards and C. Dent re: discovery (.2); OC
                          C. Dent and K. Edwards re: Concordance
                          review (1.0); begin reviewing documents (1.8);
                          OC D. Lowenthal re: same (.2).
7/2/13          CWD       E-mails re discovery certification, TC B.                1.60          $808.00
                          Guiney, OC same re same re same (.4);
                          meeting w/same and K. Edwards re database
                          (1.0); reviewing docket, e-mails re Court
                          calendar with managing clerk's office (.2).
7/2/13          DAL       Attention to certification re document                   2.10        $1,806.00
                          production (2.0); attention to document
                          production issues (.1).
7/2/13          LC        Review and organization of documents in                  1.30          $305.50
                          connection with interrogatory responses per
                          request of C. Dent (1.3).



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7/2/13       ST      Retrieve and process documents in preparation     3.90          $760.50
                     for review, per request of C. Dent (3.9).
7/3/13       BPG     Review documents (1.3); e-mail C. Dent re:        5.00        $3,325.00
                     same (.1); circulate proposed final version of
                     certification (.1); review documents (1.9);
                     review documents (.6); review documents (.7);
                     additional follow-up re: certification (.1);
                     attention to interrogatory responses (.2).
7/3/13       CWD E-mails w/B. Guiney re discovery issues (.2);         0.90          $454.50
                   e-mails re interrogatories and discovery
                   certifications, reviewing same, e-mails w/L.
                   Carvalho re same (.6); reviewing docket (.1).
7/3/13       DAL     Finalize and serve Certification re document      0.80          $688.00
                     production (.2); review interrogatory response
                     (.6).
7/3/13       ST      Retrieve and process documents in preparation     0.70          $136.50
                     for review, per request of C. Dent (.7).
7/6/13       CWD Reviewing allocation diligence files (.6).            0.60          $303.00
7/8/13       BPG     Document review (3.0); follow-up D.               3.60        $2,394.00
                     Lowenthal review interrogatory responses, e-
                     mails related to production (.6).
7/8/13       CWD Reviewing docket (.1); TC L. Carvalho re              0.80          $404.00
                  supplemental interrogatory responses, e-mails
                  re same (.5); TC B. Guiney re allocation
                  discovery issues, reviewing files re same (.2).
7/8/13       DAL     Work on interrogatory issues (.5).                0.50          $430.00
7/8/13       LC      Review and organization of documents in           3.30          $775.50
                     connection with interrogatory responses per
                     request of C. Dent (3.3).
7/9/13       BPG     Review docket, review 9019 motion (.2);           1.40          $931.00
                     document review (.9); OC C. Dent re: same,
                     follow-up re: method of review (.3).
7/9/13       CWD Reviewing allocation discovery documents, OC          3.80        $1,919.00
                  and TC B. Guiney re same (3.8).
7/9/13       ST      Continue to retrieve and process documents in     3.60          $702.00
                     preparation for review, per request of C. Dent
                     (3.6).



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7/10/13      BPG     Document review (4.3); TC D. Lowenthal re:        4.90      $3,258.50
                     same and re: production issues (.5); follow-up
                     J. Heaney re: hard copy documents (.1).
7/10/13      CWD E-mails re interrogatories (.1); e-mails re           4.00      $2,020.00
                   allocation discovery files, reviewing same, e-
                   mails w/B. Guiney re same (3.7); reviewing
                   docket and e-mail from Committee re 7/11 call,
                   reviewing fee examiner Order re same, e-mails
                   w/B. Guiney re same (.2).
7/10/13      DAL Work on discovery (1.8).                              1.80      $1,548.00
7/11/13      BPG     OC C. Dent re: discovery and follow-up (.2);      2.70      $1,795.50
                     prepare for meeting and follow-up re: fee
                     examiner (.4); participate on weekly call and
                     follow-up, for part (.5); review materials
                     received from J. Heaney and follow-up re:
                     same (1.6).
7/11/13      CWD OC B. Guiney re discovery files, finish              2.60       $1,313.00
                  reviewing same (1.1); Committee call, call
                  w/Akin re same and discovery issues, OC D.
                  Lowenthal and B. Guiney re same (1.2);
                  revising monthly fee statement, note to
                  accounting department re same (.3).
7/11/13      DAL Review Committee call agenda and three               2.20       $1,892.00
                   accompanying documents in preparation for
                   Committee call (.5); participate in Committee
                   call (.4); follow-up call with Committee
                   counsel and counsel for BNY re document
                   production issues and logistics of production
                   (.3); follow-up planning re same with B.
                   Guiney and C. Dent (.5); detailed review of
                   Order appointing fee examiner (.3); e-mails
                   with J. Heaney re change in Committee call
                   time pursuant to request of Committee counsel
                   (.2).
7/12/13      BPG Review responsive documents, prepare final           2.10       $1,396.50
                   batch of to be produced documents, confer with
                   C. Dent re: same, follow-up K. Edwards re:
                   same (1.7); review PDFs from S. Tilahun and
                   follow-up (.3); update D. Lowenthal re:
                   discovery (.1).



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7/12/1 3     CWD OC B. Guiney re discovery files, e-mails re          0.20          $101.00
                  same (.2).
7/1 2/13     DAL     Calendar hearing dates (.1).                     0.10           $86.00
7/1 5/13     BPG     OC C. Dent re: status of document review,        1.40          $931.00
                     follow-up re: same, schedule meeting re: same
                     (.3); OC D. Lowenthal, C. Dent re: same (.9);
                     follow-up re: same (.2).
7/1 5/13     CWD Reviewing docket and Agenda for 7/16 hearing         3.70        $1,868.50
                  (.2); OC B. Guiney re LawDeb discovery
                  documents, follow-up re same (1.3), e-mails
                  w/J. Heaney and Cleary re same and production
                  logistics (.3); prepare for and meeting w/D.
                  Lowenthal and B. Guiney re document
                  production, follow-up re same (1.2); revising
                  monthly fee statement, e-mails w/D. Lowenthal
                  re same (.4).
7/1 5/13     DAL E-mails from Committee counsel re change in          1.30        $1,118.00
                   Committee call (.1); review document requests
                   and produced documents with B. Guiney and
                   C. Dent (1.2).
7/16/13      BPG     Review docket (.1); follow-up C. Dent re:        0.70          $465.50
                     discovery (.1); additional follow-up re:
                     discovery (.2); review Opinion re: LTD
                     severance (.2); review M. Fagen e-mail re:
                     same and follow-up (.1).
7/16/13      CWD Reviewing docket and Order re LTD severance          2.10        $1,060.50
                  claims, e-mails re same w/D. Lowenthal and B.
                  Guiney (.5); e-mails re document production
                  issues, follow-up re same, OC B. Guiney re
                  same (.9); revising fee statement, e-mails
                  w/accounting department re same, TC D.
                  Lowenthal re same, TC accounting department
                  re same (.7).
7/16/13      DAL Work on fee statement, finalize and send to J.       1.90        $1,634.00
                  Heaney (1.6); review Court opinion re LTD
                  severance motion (.3).




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7/17/13      BPG     OC C. Dent re: discovery issues (.2); follow-up    0.70        $465.50
                     J. Heaney re: document production (.1); follow-
                     up re: responses to interrogatories (.2);
                     additional follow-up re: same, TC D.
                     Lowenthal re: same (.2).
7/17/13      CWD Reviewing docket (.1); e-mails re discovery            1.00        $505.00
                  files, follow-up re same, TC practice support re
                  same, OC B. Guiney re same, e-mails re same
                  w/D. Lowenthal (.9).
7/17/13      DAL Review Order re leave to appeal (.2); confer           0.60        $516.00
                   with B. Guiney on Debtors' updated request re
                   interrogatory responses (.1); review lengthy e-
                   mail from Debtors' counsel seeking
                   supplemental interrogatory response and
                   review Law Debenture's initial interrogatory
                   responses (.3).
7/17/13      ST      Retrieve and process documents in preparation      2.10        $409.50
                     for production per request of C. Dent (2.1).
7/18/13      BPG Participate in weekly Committee call and               0.70        $465.50
                   follow-up re: same (.7).
7/18/13      CWD Committee call, OC D. Lowenthal and B.                 2.00      $1,010.00
                  Guiney re same (.7); reviewing docket (.1);
                  follow-up re discovery production, TC D.
                  Lowenthal, B. Guiney and S. Tilahun re same,
                  e-mails w/Merrill re same, drafting summary e-
                  mail for D. Lowenthal re same (1.1); follow-up
                  re 7/19 District Court hearing, e-mails re same
                  (A ).
7/18/13      DAL Prepare for and participate in Committee call          1.40      $1,204.00
                   and related follow-up with J. Heaney and
                   colleagues (.9); attention to call with District
                   Court re appeal status (.1); e-mails with S.
                   Miller re same (.1); follow-up with C. Dent
                   (.1); review Third Circuit Order re briefing
                   schedule of EMEA appeal (.2).
7/18/13      ST      Retrieve and process documents in preparation      1.00        $195.00
                     for production per request of C. Dent (1.0).
7/19/13      BPG     Attention to document production (.2); consider    0.30        $199.50
                     and follow-up re: witness identification (.1).



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7/19/13      CWD Follow-up re Law Debenture allocation                 2.20       $1,111.00
                   document production, e-mails w/practice
                   support re same, TC same re same, TC D.
                   Lowenthal re same, emails w/Merrill re same
                   (.6); reviewing docket (.2); monitoring conf.
                   call w/District Court, e-mails w/D. Lowenthal
                   and B. Guiney re same (1.4).
7/19/13      DAL Work on document production issues (.1);              1.60       $1,376.00
                  review e-mail to Core Parties re document
                  production (.9); analyze witness identification
                  obligations (.6).
7/22/13      BPG     Follow-up re: discovery issues (privilege logs,   0.70         $465.50
                     document production) (.4); follow-up C. Dent
                     re: open issues (.2); attention to e-mails re:
                     same (.1).
7/22/13      CWD E-mails re witness lists and document                 2.60       $1,313.00
                   production, reviewing letters from Monitor to
                   Core Parties re same (.3); follow-up re
                   document production issues, TC K. Edwards re
                   same, OC B. Guiney re same, TC D. Lowenthal
                   re same, e-mails re same w/other Core Parties
                   (1.2); follow-up re witness lists and discovery
                   files, e-mails w/B. Guiney re same (.6);
                   downloading and reviewing allocation
                  discovery files (.5).
7/22/13      DAL E-mail from CCC counsel re privilege log and          0.50         $430.00
                   follow-up with colleagues (.2); send
                   certification of Law Debenture's document
                   production to Core Parties' counsel (.3).
7/23/13      BPG OC D. Lowenthal and C. Dent re: discovery             1.40         $931.00
                   issues (.7); multiple TCs and e-mails re: same,
                   including follow-up R. Johnson re: same (.3);
                   TC same re: same and follow-up (.2); review
                   CCC demand and TC C. Dent re: same, follow-
                   up re: same (.2).




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7/23/13      CWD E-mails re document production and August 6          2.00      $1,010.00
                   meet and confer, follow-up re same (.7); OC B.
                   Guiney re allocation discovery issues, TC same
                   re same (.1) reviewing docket (.1); meeting
                   w/D. Lowenthal and B. Guiney re discovery
                   issues (.7); call w/R. Johnson re discovery
                   issues (.1); reviewing supplemental CCC
                   document request, TC B. Guiney re same,
                   follow-up re same (.3).
7/23/13      DAL Work on discovery, including detailed review         1.60      $1,376.00
                  of document production issues, searches and
                  upcoming disclosures with B. Guiney and C.
                  Dent (for part) (1.4); review CCC updated
                  document request (.2).
7/24/13      BPG     Review multiple e-mails re: discovery, TC C.     0.80        $532.00
                     Dent re: same (.5); TC re: discovery request
                     (for part) with D. Lowenthal, follow-up re:
                     same (.2); review additional e-mails re: same
                     (.1)-
7/24/13      CWD Follow-up re supplemental diligence request         1.20         $606.00
                   (.1); e-mails re Core Parties' supplemental
                   document production and certifications (.1); e-
                   mails re CCC supplemental diligence request,
                   call re same w/Wilmington Trust and BNY, TC
                   D. Lowenthal re same (.7); TC B. Guiney re
                   CCC discovery request, reviewing Discovery
                   Plan and follow-up re same (.3).
7/24/13      DAL Work on discovery re CCC request for                2.80       $2,408.00
                  additional answer to document response,
                  including review of e-mails re same, TC with
                  counsel for BNY Mellon and Wilmington
                  Trust, and follow-up e-mail with E. Lamek
                  (1.6); review ad hoc noteholder group's
                  supplemental response to document requests
                  (.3); TC with counsel for Indenture Trustees
                  and CCC re interrogatory issues and related
                  follow-up (.7); review draft interrogatory
                  response (.2).




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7/25/13      BPG   Review e-mails re: discovery (.2); follow-up C.     0.60        $399.00
                   Dent re: same (.1); review objection to
                   document request and follow-up D. Lowenthal
                   re: same (.3).
7/25/13      CWD   Committee call, OC D. Lowenthal re same             1.70        $858.50
                   (1.1); e-mails re allocation discovery issues
•                  (.1); call w/Indenture Trustees re CCC
                   supplemental discovery request, OC D.
                   Lowenthal re same (.3); reviewing docket (.1);
                   reviewing e-mail from Dewey estate re fees
                   (.1).
7/25/13      DAL   Attention to revised CCC document request          5.00       $4,300.00
                   response (3.2); prepare for and participate in
                   Committee call (1.2); TC with Indenture
                   Trustees' counsel re CCC document request
                   (.5); confer with B. Guiney re reserved request
                   (.1).
7/26/13      BPG   Review response to document request, TC D.         0.40         $266.00
                   Lowenthal re: same, follow-up same re: same
                   (.4).
7/26/13      CWD   TC D. Lowenthal re Discovery Plan deadlines,       0.30         $151.50
                   e-mails re same (.1); e-mails re responses to
                   CCC's supplemental document requests (.1);
                   reviewing docket and Agenda for upcoming
                   hearing (.1).
7/26/13      DAL   Revise and complete document request               3.90       $3,354.00
                   responses (2.2); attention to discovery schedule
                   (1.2); review Court hearing Agenda (.1); e-
                   mails with Dewey representative re case status
                   (.3); e-mail Akin re Law Debenture personnel
                   on upcoming Committee calls (.1).
7/27/13      CWD   Reviewing e-mails from core parties re motions     0.10          $50.50
                   to compel and document production (.1).
7/29/13      BPG   Review e-mails from D. Lowenthal re:               0.40         $266.00
                   discovery, follow-up re: same (.4).
7/29/13      CWD   Reviewing docket (.1); reviewing Canadian          0.60         $303.00
                   Debtors' notice of 30(b)(6) examination, OC B.
                   Guiney re same (.5).




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7/29/1 3     DAL Review deposition notice to Law Debenture              3.50      $3,010.00
                   and other core parties and related analysis
                   (1.5); review US Debtors' notice re witnesses;
                   review EMEA and UCC's reservation of rights
                   re motions to compel and analysis re same
                   (2.0).
7/30/13      CWD OC B. Guiney re discovery issues (.2);                 0.50        $252.50
                  reviewing docket (.1); e-mails w/J. Heaney re
                  depositions, follow-up re same, TC D.
                  Lowenthal re same (.2).
7/30/13      DAL Attention to Rule 30(b)(6) witness                     1.50      $1,290.00
                   designations, including confer with Law
                   Debenture and C. Dent re same and response
                   (1.5).
7/31/13      BPG     OC C. Dent re: open issues, review discovery       1.10       $731.50
                     materials and follow-up (1.1)
7/31/13      CWD Reviewing e-mails re allocation witnesses and        2.40        $1,212.00
                  depositions, TC B. Guiney re same, e-mails
                  w/same and D. Lowenthal re same (.4);
                  reviewing docket (.1); reviewing allocation
                  files on Merrill database, OC B. Guiney re
                  same (1.9).
7/31/13      DAL Review e-mails from Core Parties' counsel re         0.50         $430.00
                   discovery issues and scheduling (.5).

                                                  Total Services    121.40       $74,173.00


              Daniel A Lowenthal         34.60 hours at     $860.00 $29,756.00
              Craig W. Dent              37.60 hours at     $505.00 $18,988.00
              Brian P. Guiney            33.30 hours at     $665.00 $22,144.50
              Leonardo Carvalho           4.60 hours at     $235.00 $1,081.00
              Samson Tilahun             11.30 hours at     $195.00 $2,203.50




6375357v.3
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                                                                      August 19, 2013
                                                                      L0353-000007




                 Filing Fees/Index Fees                                 181.00
                 Local Travel & Fares                                    43.09
                 Misc.                                                  325.00
                 Outside Professional Services                          133.60
                 Overnight Express Courier                               25.00

                                                 Total Expenses                    $707.69


                                                 Total This Invoice              $74,880.69




63753570
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                    Patterson Belknap Webb & Tyler LLP
          1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                         Invoice No. 781072
400 Madison Avenue                                                              September 17, 2013
New York, NY 10017                                                              FEI No. XX-XXXXXXX

Re: NORTEL                                                                      L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                             August 31, 2013 In Connection With The Following:


8/1 /13       BPG       Review materials for Committee call and                  2.50        $1,662.50
                        follow-up re: same (.4); participate on weekly
                        Committee call, follow-up re: same (.9); OC D.
                        Lowenthal and C. Dent re: depositions, other
                        open issues (1.0); OC C. Dent re: same (.2).
8/1/13        CWD Reviewing proposed Deposition Protocol (.6);                   3.80        $1,919.00
                   preparing for and meeting w/D. Lowenthal and
                   B. Guiney re meet and confer and discovery
                   issues (2.2); follow-up re same (.3); e-mails and
                   follow-up w/L. Carvalho re allocation
                   documents index, OC B. Guiney re same (.7).
8/1/13        DAL       Review draft Deposition Protocol (1.6);                  3.10        $2,666.00
                        Committee call and follow-up with team (.6);
                        team status and strategy session in preparation
                        for August 6th meet and confer and related
                        follow-up (1.3); e-mails from ad hoes' counsel
                        re discovery issues (.2).
8/2/13        BPG       Review Deposition Protocol, mark-up same,                0.70          $465.50
                        follow-up (.6); review e-mails re: discovery
                        (.1).
8/2/13        CWD E-mails re 30(b)(6) depositions (.2); e-mails re               0.90          $454.50
                    revised Deposition Protocol, reviewing same
                    and B. Guiney comments re same (.3);
                    reviewing Lazard and Global IPco subpoenas
                    (.1); reviewing EMEA Third Circuit brief (.3).
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8/2/13    DAL     Review updated draft Deposition Protocol (.9);       3.90      $3,354.00
                  e-mails with B. Guiney and C. Dent re
                  revisions to draft Deposition Protocol (.6);
                  revise same and have C. Dent send proposed
                  changes to Cleary (.8); e-mails among counsel
                  for Core Parties re extension of time to identify
                  Rule 30(b)(6) witnesses (.7); e-mails with J.
                  Heaney re same (.2); begin review of EMEA
                  appeal brief re dispute resolution (.9).
8/3/13    CWD Emails re Deposition Protocol and meet and               0.20        $101.00
               confer (.2).
8/4/1 3   CWD E-mails re Deposition Protocol w/D.                     0.30         $151.50
                Lowenthal, revising same and send to Cleary
                (.3).
8/5/13    CWD Reviewing docket (.1); meet w/D. Lowenthal re           1.70         $858.50
               August 6 meet and confer, TC R. Johnson re
               same (.5); reviewing Goodmans mark-up of
               Deposition Protocol and related e-mails (.5); e-
               mails from Committee re discovery issues,
               reviewing letters re same, TC D. Lowenthal re
               same (.6).
8/6/13    BPG     Review e-mail from R. Johnson, review               0.40         $266.00
                  attachments, follow-up re: same (.4).
8/6/13    CWD Prepare for and participate in meet and confer          8.30       $4,191.50
                at Cleary, OC D. Lowenthal re same (8.3).
8/6/13    DAL Prepare for and attend meet and confer at               8.70       $7,482.00
                Cleary (8.7).
8/6/13    LC      Review and update of allocation document            1.20         $282.00
                  index as requested by C. Dent (1.2).
8/7/13    CWD Reviewing docket (.1); reviewing and revising           1.60         $808.00
               July fee statement, OC D. Lowenthal re same
               (.5); e-mails w/B. Guiney re discovery, e-mails
               re same re EMEA correspondence, reviewing
               same (.5); TC D. Lowenthal re EMEA letters
               and filings (.4); e-mails from Committee re 8/8
               call (.1).
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8/7/13    DAL Work on fee statement (.2); review estimates         2.30      $1,978.00
               received from Debtors' counsel re court
               reporters (.3); review EMEA's letter to Core
               Parties re scheduling issues (.4); review
               EMEA's correspondence brief to Canadian
               Court re scheduling (.5); TC R. Johnson re
               same (.2); review Debtors' draft stipulation
               with Radware (.3); review Bondholders'
               comments on draft stipulation re expert
               discovery and related e-mails re same (.4).
8/8/13    CWD E-mails re Canadian hearing (.1); e-mails re         5.00      $2,525.00
                expert protocol (.1); reviewing docket, e-mails
                re same w/D. Lowenthal and B. Guiney (.2);
                Committee call, follow-up call w/M. Riela re
                same and depositions, OC D. Lowenthal re
                same (1.5); e-mails re follow-up Akin call,
                participating in same (.5); finalizing fee
               statement, OC D. Lowenthal re same (.3); file
                review (.2); follow-up re Merrill database and
               allocation document production review (2.0).
8/8/13    DAL E-mails from and to Core Parties re draft expert     3.00      $2,580.00
                witness protocol (.2); Committee Call and
                related follow-up (1.2); confer with C. Dent re
                30(b)(6) issues (.3); TC M. Riela and C. Dent
                re same (.3); e-mails with M. Riela and Akin re
                same (.2); TC M. Riela and Akin re same (.3);
                memo to J. Heaney re 30(b)(6) update (.5).
8/9/13    CWD E-mail from Committee re Canadian hearing            2.70      $1,363.50
                (.1); e-mails re revised Deposition Protocol,
                reviewing same (.4); e-mails re deposition
                cross-designations, reviewing same (.2);
                reviewing Merrill discovery files (2.0).
8/10/13   CWD E-mails re depositions and discovery issues (.2)     0.20       $101.00
8/11/13   CWD E-mails re depositions and discovery issues          0.20       $101.00
                (.2).
8/12/13   CWD     E-mails re Deposition Protocol and witness       0.40       $202.00
                  designations (.2); reviewing EMEA letter re
                  proposed revisions to litigation plan (.2).
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8/12/13    DAL Review updated Deposition Protocol (.2);                0.50        $430.00
                 review letter from EMEA's counsel re
                 allocation trial (.1); e-mail to J. Heaney re same
                 (.1); e-mails with S. Miller re same (.1).
8/13/13    BPG     Review e-mails, OC C. Dent re: open issues,         1.10        $731.50
                   follow-up D. Lowenthal re: same (1.1).
8/13/13    CWD Reviewing revised Deposition Protocol, e-mails          1.60        $808.00
                re same (.2); OC B. Guiney re discovery, meet
                and confer, and related issues (.9); TC R.
                Rennagele re document review issues (.3); e-
                mails re depositions, production issues, and
                litigation schedule (.2).
8/14/13    BPG     Attention to e-mails, status, follow-up C. Dent    0.60         $399.00
                   re: same (.1); OC same re: deposition and open
                   issues (.5).
8/14/1 3   CWD E-mails re depositions and litigation schedule,        2.20       $1,111.00
                 reviewing letters re same (.3); preparing for and
                 participating in call re 30(b)(6) depositions, e-
                 mails w/D. Lowenthal re same, OC B.Guiney
                 re same and deposition issues (1.8); reviewing
                 docket (.1).
8/14/13    DAL Participate in call with counsel for all Core          1.40       $1,204.00
                 Parties re deposition issues (1.4).
8/15/13    BPG     Follow-up D. Lowenthal, C. Dent re: Nortel         1.10         $731.50
                   call (.1); review materials in preparation for
                   same (.3); participate on same and follow-up
                   (.7).
8/15/13    CWD E-mails re Committee issues (.1); Committee            2.00       $1,010.00
                 call (.7); e-mails re deposition scheduling and
                 litigation schedule (.2); e-mails w/D.
                 Lowenthal re Committee call (.6); drafting
                 summary e-mail to D. Lowenthal re document
                 review issues (.4).
8/1 5/13   DAL     Memo to J. Heaney re case update and               0.30        $258.00
                   Committee call (.3).
8/1 6/13   BPG Review EMEA motion on litigation timetable,            0.40        $266.00
                 follow-up re: deposition schedule (.3); review
                 docket (.1).
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8/16/13   CWD   Reviewing docket (.2); e-mails re Deposition          0.60        $303.00
                Protocol and letters rogatory (.2); e-mails from
                Committee re motions to modify litigation
                timetable, reviewing same (.2).
8/19/13   BPG   Review docket (.1); OC D. Lowenthal re: open          0.20        $133.00
                issues (.1).
8/19/13   CWD   Reviewing docket (.1).                                0.10         $50.50
8/20/13   BPG   Review correspondence related to discovery            0.20        $133.00
                (.2).
8/20/13   CWD   Emails re document production and                    0.20         $101.00
                depositions, reviewing Canadian Debtors' letter
                and UK Orders re same (.2).
8/20/13   DAL   Attention to deposition scheduling issues and        2.20       $1,892.00
                detailed review of EMEA motions filed in the
                U.S. and Canada seeking to adjourn the start of
                the allocation trial as well as the Declaration of
                James Edward Seaton Norris-Jones (2.2).
8/21/13   BPG   OC C. Dent re: issues, follow-up re: extension       0.80         $532.00
                of trial date (.2); review revised Deposition
                Protocol and follow-up (.6).
8/21/13   CWD   Reviewing letters re depositions (.1); reviewing     1.20         $606.00
                docket (.1); TC D. Lowenthal re omnibus
                hearing, follow-up re same (.3); TC D.
                Lowenthal re discovery issues, OC B. Guiney
                re same (.3); reviewing revised Deposition
                Protocol, e-mails re same w/D. Lowenthal and
                B. Guiney (.4).
8/21/13   DAL   Review letters from Core Parties' counsel re         3.60       $3,096.00
                deposition issues (.1); confer with C. Dent re
                EMEA's motion to extend trial deadline (.1);
                review e-mail from J. Gross re motion to
                extend trial start and send same to J. Heaney
                (.3); attention to Deposition Protocol and
                discovery issues with C. Dent (.3); review Akin
                and Morris Nichols fee applications (1.2); e-
                mails with R. Johnson re draft Deposition
                Protocol (.1); review updated Deposition
                Protocol (1.5).
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8/22/13   BPG   Review revised Deposition Protocol, follow-up       1.50        $997.50
                re: same (.2); participate on weekly Committee
                call, OC D. Lowenthal and C. Dent re:
                Deposition Protocol and follow-up re: same
                (1.1); additional follow-up re: same (.2).
8/22/13   CWD   E-mails and TCs re revised Deposition              1.40         $707.00
                Protocol, reviewing same, OC D. Lowenthal
                and B. Guiney re same (.8); Committee call
                (.6).
8/22/13   DAL   Review updated Deposition Protocol (2.0);          4.70       $4,042.00
                Committee call and follow-up (.7); client memo
                re Deposition Protocol issues and WT follow-
                up (2.0).
8/23/13   BPG   Review appellate brief (.5); review revised        1.50         $997.50
                Deposition Protocol, consider with C. Dent,
                follow-up re: same, consider with D.
                Lowenthal re: same (1.0).
8/23/13   CWD   E-mails re document production, reviewing          0.80         $404.00
                letter re same (.1); e-mails re revised
                Deposition Protocol, OC B. Guiney re same,
                follow-up re same, reviewing same, OC D.
                Lowenthal re same (.7).
8/23/13   DAL   Attention to updated draft Deposition Protocol,    4.20       $3,612.00
                including multiple TCs and e-mails re Rule
                30(b)(6) issues (2.4); TC D. Crichiow re
                Deposition Protocol (.2); TC J. Rosenthal re
                same (.1); e-mails with M. Riela (.2); follow-up
                memo to J. Heaney and related e-mails with
                colleagues.(1.3).
8/25/13   CWD   E-mails re Deposition Protocol and stipulation     0.20         $101.00
                (.2).
8/25/13   DAL   Attention to Deposition Protocol, including e-     1.10         $946.00
                mails with counsel for the Debtors; e-mail from
                WT's counsel, e-mail from BNY's counsel, and
                review of updated draft Protocol (1.1).
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8/26/13   BPG   Attention to multiple e-mails re: Deposition            0.70      $465.50
                Protocol, review revised version and follow-up
                re: same (.4); review final version of
                Deposition Protocol, review Order approving
                same (.3).
8/26/13   CWD   E-mails re Deposition Protocol and stipulation          0.20      $101.00
                (.1); reviewing docket and amended Agenda for
                omnibus hearing (.1)
8/26/13   DAL   Finalize Deposition Protocol and send signature         2.50    $2,150.00
                pages to Cleary and memo to J. Heaney (2.3);
                review Amended Agendas re Bankruptcy Court
                hearing (.2).
8/27/13   BPG   Review multiple e-mails related to discovery            0.30      $199.50
                (.3).
8/27/13         E-mails re depositions (.2); e-mails from               0.30      $151.50
                Committee re Court Orders and Committee call
                (.1).
8/27/13   DAL   Attention to witness lists (.2).                        0.20      $172.00
8/28/13   BPG   Attention to e-mail from B. Kahn re: update             0.50      $332.50
                and re: weekly Committee- call, follow-up re:
                same (.2); review docket, review certain
                applications for compensation and follow-up
                (.3).
8/28/13   CWD   Reviewing docket (.1).                                  0.10       $50.50
8/29/13   CWD   Reviewing docket (.2).                                  0.20      $101.00
8/29/13   DAL   Attention to privilege log deadline (.1).               0.10       $86.00
8/30/13   BPG   Follow-up re: privilege log, attention to other         0.30      $199.50
                discovery deadlines, follow-up C. Dent re:
                same (.3).
8/30/13   CWD   Reviewing docket (.1).                                  0.10       $50.50
8/30/13   DAL   Review appeal brief (.2).                               0.20      $172.00

                                                   Total Services   92.50      $63,346.50
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 Daniel A Lowenthal       42.00    hours at   $860.00 $36,120.00
 Craig W. Dent            36.50    hours at   $505.00 $18,432.50
 Brian P. Guiney          12.80    hours at   $665.00 $8,512.00
 Leonardo Carvalho         1.20    hours at   $235.00    $282.00

       Local Travel & Fares                                20.00
       Overnight Express Courier                           25.00

                                    Total Expenses                    $45.00


                                    Total This Invoice             $63,391.50
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                    Patterson Belknap Webb & Tyler                                        LLP


          1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                         Invoice No. 782998
400 Madison Avenue                                                              October 15, 2013
New York, NY 10017                                                              FEI No. XX-XXXXXXX

Re: NORTEL                                                                      L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                            September 30, 2013 In Connection With The Following:


9/3/13        BPG       Follow-up re: privilege log (.2); TC D.                  1.50            $997.50
                        Lowenthal re: same (.2); OC C. Dent re: same
                        (.1); additional follow-up re: privilege log,
                        including e-mails with R. Johnson, OC C. Dent,
                        review Concordance database (.8); follow-up
                        D. Lowenthal re: same (.2).
9/3/13        CWD Reviewing docket (.1); OC B. Guiney re                         0.50            $252.50
                   privilege logs, e-mails re same w/Akin (.3); e-
                   mails re discovery production (.1).
9/3/13        DAL      Attention to privilege log issues, including e-           2.00           $1,720.00
                       mails from B. Guiney and R. Johnson, review
                       draft Committee privilege log, and
                       requirements in Discovery Plan (.5); attention
                       to document production issues (1.5).
9/4/1 3       BPG      Review privilege log and OC C. Dent re: same              0.50            $332.50
                       (.2); follow-up re: same (.2); follow-up R.
                       Johnson re: privilege log (.1).
9/4/13        CWD Drafting and revising privilege log, TC D.                     2.40        $1,212.00
                   Lowenthal and B. Guiney re same (2.4).
9/4/13        DAL      Work on privilege log (.6).                               0.60            $516.00
9/5/13        BPG      Review docket, attention to case calendar,                1.00            $665.00
                       attention to e-mails related to
                       discovery/deposition schedule (.4); review e-
                       mail from R. Johnson re: Cleary privilege log,
                       TC C. Dent re: same, consider options re: same
                       and follow-up re: same (.6).
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9/5/13    CWD E-mails re deposition schedule, reviewing same          0.50        $252.50
                (.2); e-mails re privilege logs, TC B. Guiney re
                same (.3).
9/6/13    BPG Review EMEA reply brief (.3); review                    4.50      $2,992.50
                withheld documents for categories (1.1);
                review Akin privilege log, follow-up re: same,
                consider revisions to draft privilege log (.6);
                OC D. Lowenthal and C. Dent re: same (.5);
                prepare for and participate on weekly
                Committee call and follow-up re: same (.6);
                work on revised privilege log, TC D.
                Lowenthal re: same, OC C. Dent re: same (.9);
                TC D. Lowenthal re: privilege log, final review
                of same, circulate final version (.5).
9/6/1 3   CWD E-mails re privilege logs, reviewing Akin draft        1.60         $808.00
                re same, meeting w/D. Lowenthal and B.
                Guiney re same (.8); Committee call (.6); TC
                D. Lowenthal re deposition schedule, e-mails re
                same w/F. Tabatabai (.2).
9/6/13    DAL Attention to privilege log issues with B. Guiney       4.60       $3,956.00
                and C. Dent (for part) (2.4); Committee call
                (.7); memo to J. Heaney and response with
                draft privilege log (1.5).
9/7/13    BPG     Attention to privilege log, review Committee       1.00         $665.00
                  submission, finalize and circulate Law
                  Debenture privilege log, follow-up re: same
                  (1.0).
9/7/13    CWD E-mails re privilege logs, reviewing same (.2).        0.20         $101.00
9/9/13    BPG     Review privilege logs (.4); follow-up D.           0.60         $399.00
                  Lowenthal re: same, review EMEA log (.2).
9/9/13    DAL     Attention to privilege logs, including review of   6.90       $5,934.00
                  logs filed to date (1.0); review updated
                  deposition (.9); detailed analysis of merits re
                  allocation proceeding in preparation for
                  depositions, including review of multiple Core
                  Parties' allocation statements (5.0).
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9/10/13   BPG      Review deposition schedule, review other e-        2.30       $1,529.50
                   mails related to discovery (.1); review docket
                   (.1); TC C. Dent re: depositions (.2); review e-
                   mails re: EMEA discovery dispute, follow-up
                   D. Lowenthal re: same (.5); review draft letter
                   and follow-up re: same (1.1); review revised
                   version, follow-up re: same (.3).
9/10/13   CWD TC B. Guiney re deposition schedule,                    0.40         $202.00
               reviewing same (.2); e-mails re discovery
               disputes and U.S. Debtors' letter, reviewing
               same, OC B. Guiney re same (.2).
9/10/13   DAL Continued detailed analysis of pleadings re             6.80       $5,848.00
                allocation trial in preparation for depositions
                (4.2); c-mail from R. Johnson re emergency
                attention to draft letter to J. Gross, follow-up e-
                mails, review draft letter and provide comments
                to R. Johnson, e-mails with J. Heaney re same
                (2.6).
9/11/13   BPG     Review final letter, follow-up re: same, TC D.      0.70         $465.50
                  Lowenthal re: same (.4); review docket (.1);
                  review additional e-mails and letters (.2).
9/11/13   CWD E-mails re letter correspondence (.1).                  0.10          $50.50
9/11/13   DAL Review discovery letter sent to J. Gross by             2.10       $1,806.00
                Debtors' counsel (1.0); review allocation
                pleadings (1.1).
9/12/13   BPG     Review discovery e-mails, prepare for and           1.70       $1,130.50
                  participate on weekly Committee call, follow-
                  up D. Lowenthal re: open issues, discovery, etc.
                  (1.1); review additional e-mails re: discovery,
                  OC C. Dent re: open issues, follow-up re: 9/18
                  hearing (.3); consider deposition schedule,
                  follow-up re: same (.2); attention to 9019
                  motion (.1).
9/12/13   CWD OC B. Guiney re Committee call, follow-up re            0.20         $101.00
               September 18 hearing (.2).
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9/12/13   DAL     Review motion for letters rogatory (.3);             3.50      $3,010.00
                  Committee call (.5); attention to deposition
                  planning with B. Guiney (for part) (.5); review
                  e-mails between U.S. Debtors' counsel and J.
                  Gross (.2); analysis re allocation dispute (2.0).
9/13/13   BPG     Review make-whole decision and follow-up re:         1.60      $1,064.00
                  same (1.4); review Joint Administrators'
                  motion to compel and follow-up (.2).
9/13/13   DAL Review make-whole case (1.0); deposition                 1.90      $1,634.00
                work (.9).
9/16/13   BPG     Review and consider NNCC Indenture, follow-         3.00       $1,995.00
                  up re: same, review Prospectus Supplement,
                  follow-up case law re: same (1.3); review
                  docket, follow-up re: trade claims, follow-up
                  re: 9/18 hearing, TC C. Dent re: open issues
                  (.4); review JA response to discovery dispute
                  and follow-up re: same (.7); review e-mails re:
                  EMEA pleading, follow-up re: same, confer D.
                  Lowenthal re: same (.6).
9/16/13   CWD Reviewing and revising fee statement, note to           1.10         $555.50
               accounting department re same (.6); reviewing
               docket and Agenda for 9/18 hearing (.2);
               reviewing letter from EMEA re discovery
               disputes (.2); e-mails from Committee re 9/18
               hearing and related filings (.1).
9/16/13   DAL    Review deposition schedule (1.0); deposition         7.20       $6,192.00
                 preparation; review key documents re
                 allocation trial (4.7); review draft submission in
                 Canada (1.0); TC B. Guiney re same (.3); TC
                 R. Johnson re same (.2).
9/17/13   BPG    Review e-mails re: hearing, TC D. Lowenthal          1.80       $1,197.00
                 re: same, additional follow-up re: same (.7);
                 review docket (.1); attention to litigation
                 calendar (.1); OC C. Dent re: open issues (.2);
                 additional follow-up re: depositions (.1);
                 review Debtor/Committee response letter,
                 follow-up re: same (.6).
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9/17/13   CWD Reviewing docket and scheduling Order,                   0.80        $404.00
               follow-up e-mails re same w/managing clerk's
               office (.2); e-mails re 9/18 hearing, OC B.
               Guiney re same (.2); revising fee statement, e-
               mails re same w/D. Lowenthal (.2); e-mails and
               follow-up re deposition logistics, TC D.
               Lowenthal re same (.2).
9/17/13   DAL E-mails with R. Johnson re U.S. Interests'               3.00      $2,580.00
                submission in response to EMEA discovery
                motion (.1); attention to letter and discovery
                disputes (2.0); review U.S. Interests' motion
                requesting letters rogatory (.3); deposition
                preparation (.3); review updated draft letter
                from U.S. Interests to J. Gross and send
                comments to R. Johnson (.3).
9/18/13   BPG     Attention to e-mails, review docket and agenda       6.10      $4,056.50
                  letter (.1); follow-up D. Lowenthal re: hearing
                  and open issues (.3); follow-up C. Dent re:
                  same (.1); work on quarterly report for client
                  (3.5); monitor Court hearing (for part) (1.9);
                  follow-up re: deposition coverage, e-mails re:
                  same (.2).
9/18/13   CWD Reviewing Debtors' letter to Court (.2); e-mails        0.50         $252.50
               re deposition logistics (.2); reviewing summary
               e-mail to J. Heaney re same (.1).
9/18/13   DAL Attention to issues for today's Court hearing           5.70       $4,902.00
                with B. Guiney (for part) (.2); attention to
                deposition preparation, including TC R.
                Johnson (1.2); work on fee statement (.4);
                Court hearing by phone (2.2); follow-up re
                deposition planning (1.7).
9/19/13   BPG     Review e-mail re: expert witness issues and         2.70       $1,795.50
                  follow-up (.1); prepare for and participate on
                  weekly Committee call, follow-up re: same
                  (1.1); finalize quarterly update and circulate to
                  D. Lowenthal and C. Dent (.8); TC D.
                  Lowenthal and C. Dent re: depositions, follow-
                  up re: same (.5); review amendment to
                  deposition protocol and follow-up re: same (.2).
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9/19/13   CWD Call re deposition logistics (.8); Committee           2.90      $1,464.50
               call, OC D. Lowenthal and B. Guiney re same
               (1.3); TC D. Lowenthal and B. Guiney re
               depositions (.2); reviewing docket (.2); follow-
               up re 9/20 hearing (.1); reviewing and revising
               draft client update (.3); e-mails re deposition
               logistics (.1).
9/19/13   DAL TC A. Qureshi re Committee issues (.6); memo           5.60      $4,816.00
                to J. Heaney and F. Godino re same (1.2);
                Committee call and related follow-up (1.3);
                review draft revisions to Deposition Protocol
                and e-mail J. Heaney and F. Godino re same
                (1.2); e-mails with R. Johnson re deposition
                issues (.1); review multiple e-mails re letters
                rogatory and depositions (1.2).
9/20/13   BPG     Review potential expert witnesses' bios,           2.80      $1,862.00
                  follow-up D. Lowenthal re: same (.6); OC C.
                  Dent re: deposition issues (.3); follow-up M.
                  Riela re: expert (.2); additional follow-up re:
                  same, TC D. Lowenthal re: same (.3); review
                  docket (.1); follow-up re: deposition planning
                  (.2); prepare for and participate in hearing,
                  follow-up re: same (.8); prepare for and
                  participate in weekly Committee call and
                  follow-up re: same (.3).
9/20/13   CWD OC B. Guiney re Committee call, hearing and            0.90        $454.50
               depositions (.2); e-mails re Committee call and
               expert retention (.2); e-mails w/Cleary and
               colleagues re depositions (.2); Committee call
               (.2); e-mails re depositions w/D. Lowenthal and
               B. Guiney (.1).
9/20/13   DAL Attention to Committee expert witness issues,          2.90      $2,494.00
                including review proposed experts' CVs, TC
                with A. Qureshi re same, updates to J. Heaney,
                and confer with B. Guiney (2.0); confer with A.
                Qureshi re deposition preparation and TC B.
                Guiney re same (.9).
9/21/13   CWD E-mails re document production (.1).                   0.10         $50.50
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9/23/13    BPG     Review docket (.1); consider protective Order,      3.70      $2,460.50
                   follow-up C. Dent re: same, follow-up D.
                   Lowenthal re: same (.9); review witness
                   summary and follow-up re: same (1.8); OC D.
                   Lowenthal and C. Dent re: open issues, follow-
                   up re same (.9).
9/23/13    CWD OC B. Guiney re document production issues              1.30        $656.50
                (.2); TC D. Lowenthal re depositions, follow-
                up re same, e-mails w/Akin re same (.2);
                reviewing docket (.1); meeting w/D. Lowenthal
                and B. Guiney re depositions (.8).
9/23/13    DAL     Attention to depositions (1.2); work on billing     5.10      $4,386.00
                   (.3); draft client update memo (2.5); conf. B.
                   Guiney and C. Dent re case issues (.9); review
                   endorsement (.2).
9/24/13    BPG     Monitor Horn deposition (.3); review and            2.00      $1,330.00
                   revise quarterly report per D. Lowenthal (.3);
                   work on deposition calendar summary (1.1);
                   additional follow-up re: deposition scheduling
                   and monitoring with D. Lowenthal and C. Dent
                   (.3).
9/24/13    CWD Reviewing docket (.1); OC B. Guiney re                  0.30        $151.50
                depositions, e-mails from D. Lowenthal re
                Horn deposition (.2).
9/24/13    DAL     E-mail U.S. Debtors' counsel re joint privilege    6.50       $5,590.00
                   stipulation (.1); monitor Horn deposition (5.7);
                   review chart prepared re upcoming depositions
                   and select relevant ones to staff (.7).
9/25/13    BPG     TC D. Lowenthal re: open issues, follow-up         0.40         $266.00
                   (.2); follow-up same re: same (.1); follow-up
                   re: weekly Committee call (.1).
9/25/13    DAL     Draft client memo on discovery (1.5).              1.50       $1,290.00
9/26/13    BPG     Monitor Briard deposition, follow-up re: same,      4.50      $2,992.50
                   finalize notes re: same (3.9); participate on
                   Committee call and follow-up re: same (.6).
9/26/13    DAL Attention to deposition developments per               0.30         $258.00
                 information from B. Guiney (.3).
9/27/1 3   CWD Reviewing docket (.1).                                 0.10          $50.50
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9/29/13   BPG     Review docket (.1); review e-mails related to        0.30        $199.50
                  discovery (.1); follow-up re: deposition
                  calendar (.1).
9/30/13   BPG    Attention to deposition calendar, follow-up C.        0.50        $332.50
                 Dent re: same (.2); follow-up D. Lowenthal re:
                 same, review notes from previous deposition
                 (.2); review docket (.1).
9/30/13   CWD OC B. Guiney re Nortel depositions (.1).                 0.10          $50.50
9/30/13   DAL    Attention to upcoming depositions (1.9).              1.90       $1,634.00

                                                Total Services       125.30      $94,364.00


           Daniel A Lowenthal          68.10 hours at $860.00 $58,566.00
           Craig W. Dent               14.00 hours at $505.00 $7,070.00
           Brian P. Guiney             43.20 hours at $665.00 $28,728.00


                 Local Travel & Fares                                    25.62
                 Reproduction                                             1.35

                                                Total Expenses                      $26.97


                                                Total This Invoice               $94,390.97
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                       Patterson Belknap Webb & Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

 Law Debenture Trust Company of New York                                           Invoice No. 785183
 400 Madison Avenue                                                                November 20, 2013
 New York, NY 10017                                                                FEI No. XX-XXXXXXX

 Re: NORTEL                                                                        L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                October 31, 2013 In Connection With The Following:


10/1/13          BPG       Review docket (.1); consider depositions with            2.40        $1,596.00
                           D. Lowenthal and C. Dent (.1); monitor
                           Brueckheimer deposition (for part), prepare and
                           circulate summary of same (2.2).
10/1/13          CWD E-mails re depositions, reviewing docket (.1);                 0.50          $252.50
                       e-mails re Law Debenture document
                       production, follow-up re same (.4).
10/1/13          DAL      Attention to depositions and draft related client         3.40        $2,924.00
                          memo (1.4); review application and Orders re
                          letters rogatory (0.5); review deposition
                          summaries (1.0); review Order re discovery
                          (0.5).
10/2/13          BPG      Review deposition calendar, update deposition            1.80         $1,197.00
                          spreadsheet, follow-up D. Lowenthal and C.
                          Dent re: same (1.0); review e-mails re: changes
                          to deposition protocol, follow-up re: same (.3);
                          follow-up re: other open items, agenda for
                          Committee call, review attachments (.2);
                          follow-up re: clawback request (.3).
10/2/13          CWD TC B. Guiney and D. Lowenthal re depositions                  0.30           $151.50
                      (.2); e-mails re discovery clawback, OC B.
                      Guiney re same (.1).
10/2/13         DAL Draft client memo (3.1); review updated                        3.60         $3,096.00
                      deposition schedule (.2); review hearing
                      Agenda (.1); TC M. Riela re depositions (.2).




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10/3/13      BPG     Prepare for and participate on Committee            2.30      $1,529.50
                     weekly call, follow-up re: same (.5); monitor
                     deposition (for part) and circulate notes re:
                     same (1.8).
10/3/13      CWD Monitoring Dadybujor deposition (for part), e-          2.80      $1,414.00
                  mails w/D. Lowenthal and B. Guiney re same
                  (2.7); OC B. Guiney re Committee call (.1).
10/3/13      DAL     Monitoring Pahapill Deposition (6.7);               7.20      $6,192.00
                     Committee call (.5).
10/4/13      BPG     Review letter to J. Gross and follow-up re:         1.40        $931.00
                     same (.3); review memo to client and follow-up
                     re: same (.4); OC D. Lowenthal re: clawback
                     request and follow-up re: same (.4); follow-up
                     Z. Rozenberg re: same (.1); TC same re: same
                     and follow-up (.2).
10/4/13      CWD E-mails re letter to Judge Gross, reviewing             0.20        $101.00
                   same (.1); reviewing docket (.1).
10/4/13      DAL     Attention to letter to J. Gross re discovery       3.10       $2,666.00
                     dispute with EMEA, including review of draft
                     and final (.7); revise client memo (2.1); confer
                     with B. Guiney re privilege documents
                     produced by other party (.1); attention to fee
                     statement (.1); review EMEA production e-
                     mail (.1).
10/6/13      DAL     Revise client memo (1.1).                           1.10        $946.00
10/7/13      BPG     Review docket, review deposition calendar (.1);    0.90         $598.50
                     follow-up D. Lowenthal and C. Dent re:
                     deposition coverage (.1); follow-up re:
                     clawback request (.2); follow-up C. Dent re:
                     deposition, follow-up D. Lowenthal re:
                     deposition (.1); review submissions to Court re:
                     discovery dispute (.4).
10/7/13      CWD E-mails re depositions, OC B. Guiney re same           0.60         $303.00
                   (.1); reviewing docket (.1); revising monthly
                   fee statement (.3).




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10/7/13      DAL Complete and send client memo (.4); attention              1.80    $1,548.00
                   to EMEA appeal before the Third Circuit (.1);
                   attention to upcoming depositions (1.0); review
                   bondholders' letter to J. Gross (.1); review
                   EMEA's and Monitor's letters to J. Gross (.2).
10/8/13      BPG     Review US Interests' response to EMEA letter        6.70       $4,455.50
                     (.1); review subsequent discovery letters and
                     follow-up (.3); monitor deposition of J.
                     Williams and follow-up re: same (3.6);
                     continue monitoring deposition (for part),
                     update D. Lowenthal re: same, send update re:
                     same (2.7).
10/8/13      CWD Reviewing docket and letters to J. Gross re             0.60         $303.00
                  discovery issues, e-mails from Committee re
                  same (.3); revising monthly fee statement (.3).
10/8/13      DAL Review letter from Debtors' counsel to J. Gross         0.30         $258.00
                   (.2); review e-mails re deposition updates (.1).
10/9/13      BPG     Review docket, attention to e-mails related to     1.40          $931.00
                     discovery (.2); review additional submissions
                     regarding French deposition dispute (.2);
                     attention to e-mails related to letters rogatory
                     (.2); update deposition calendar, follow-up C.
                     Dent and D. Lowenthal re: same (.8).
10/9/13      CWD Reviewing docket and letters filed with J.             0.50          $252.50
                  Gross (.2); OC D. Lowenthal re discovery
                  redaction requests, TC B. Guiney re same, e-
                  mails re same (.3).
10/9/13      DAL Review Committee briefs re Third Circuit               1.90        $1,634.00
                   appeal argument and US Debtors' and
                   Committee briefs re same (1.4); review
                   Committee counsel's e-mail re oral argument
                   (.5).
10/10/13     BPG     Monitor LaSalle deposition (for part) (.8);        4.70        $3,125.50
                     monitor Riedel deposition (for part) (1.4);
                     continue monitoring same (for part) (.9);
                     follow-up re: Committee call (.1); gather
                     clawback requests (.4); OC D. Lowenthal and
                     C. Dent re: status, clawback requests,
                     depositions, follow-up re: same (1.1).




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10/10/13     CWD Monitoring Fortier deposition (for part), e-            3.40        $1,717.00
                  mails re same and other depositions with D.
                  Lowenthal and B. Guiney (1.9); OC B. Guiney
                  re clawback requests, meeting re same w/same
                  and D. Lowenthal, follow-up re same (1.2);
                  reviewing docket (.1); TC S. Tilahun re
                  document production issues (.2).
10/10/13     DAL     Committee call (.5); e-mail re deposition           2.10        $1,806.00
                     update (.7); confer with B. Guiney and C. Dent
                     re deposition and discovery issues (.9).
10/11/1 3    BPG     Review Order on French discovery dispute,           0.30          $199.50
                     review and follow-up e-mail re: same (.2);
                     follow-up re: depositions, review notes from
                     Cross deposition (.1).
10/11/13     DAL Mary Cross deposition (2.6); deposition                 3.60        $3,096.00
                  planning for upcoming week, including review
                  of e-mails from counsel for Scheduling
                  Committee (1.0).
10/14/13     BPG     Attention to discovery documents and e-mails,       0.60          $399.00
                     attention to deposition schedule (.3); attention
                     to clawback requests, follow-up C. Dent re:
                     same (.2); follow-up D. Lowenthal re:
                     depositions (.1).
10/14/13     CWD     E-mails re clawback requests (.1).                  0.10           $50.50
10/14/13     DAL     Review e-mails re deposition update (2.5);         3.30         $2,838.00
                     work on fee statement (.8).
10/15/13     BPG     Review EMEA letter and follow-up (.4);              1.00          $665.00
                     follow-up Currie deposition (.1); follow-up re:
                     clawback requests (.2); attention to EMEA
                     motion (.1); review US Debtors' response,
                     attention to other discovery e-mails (.2).
10/15/13     CWD OC B. Guiney re discovery issues, follow-up re         0.70           $353.50
                  same (.4); reviewing docket (.1); e-mail from
                  Committee re letters to Court (.1).
10/15/13     DAL Review letters to J. Gross and J. Morawetz             7.90         $6,794.00
                   from EMEA (.2); monitor Peter Currie
                   deposition (7.7).




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10/16/13      BPG   Review notes on Currie deposition, review            0.40      $266.00
                    docket, review correspondence and Order
                    related to EMEA dispute (.5).
10/16/13     CWD    E-mails from Committee re Court filings,             0.20      $101.00
                    reviewing docket re same (.2).
10/17/13     BPG    Monitor Culina deposition, for part (2.2);           3.20     $2,128.00
                    update deposition schedule and follow-up re:
                    same (.8); review US Interests' letter to Gross
                    and follow-up (.2).
10/17/13     CWD    Follow-up re clawback requests (.1);                 0.40      $202.00
                    Committee call (for part), OC D. Lowenthal re
                    same (.3).
10/17/13     DAL    Review discovery letters to J. Gross and J.          2.10     $1,806.00
                    Morawetz (.7); Committee call (.8); review
                    additional letters to J. Gross (.6).
10/18/13     CWD    E-mails re allocation litigation schedule and        0.20      $101.00
                    10/22 hearing, follow-up re same (.2).
10/18/13     DAL    Review hearing Agenda (.2); work on fee              1.20    $1,032.00
                    statement (.2); review Orders re trial and
                    discovery issues (.5); plan for next week's
                    depositions (.3).
10/21/13     BPG    Follow-up Culina depo (.1); review docket (.1);      0.50      $332.50
                    OC C. Dent re: clawback notices and follow-up
                    (.1); review e-mails related to discovery (.1);
                    follow-up re: this week's depositions (.1).
10/21/13     CWD    E-mails re clawback requests, reviewing same,     0.10          $50.50
                    OC B. Guiney re deposition schedule, e-mails
                    re same (.1).
10/21/13     DAL    Finalize and send fee statement to Law            0.10          $86.00
                    Debenture (.1).
10/22/13     BPG    Consider deposition schedule with D.              0.20         $133.00
                    Lowenthal and follow-up (.2).
10/22/1 3    DAL    Attention to key depositions this week, with B.   0.20         $172.00
                    Guiney (for part) (.2).




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 10/23/13    BPG   Follow-up C. Dent and D. Lowenthal re:                0.40        $266.00
                   deposition coverage (.2); review clawback
                   notices and follow-up (.1); attention to e-mails
                   related to scheduling (.1).
 10/23/13    CWD   E-mails re deposition schedule, OC B. Guiney          0.20        $101.00
                   re same (.2).
10/23/13     DAL   Review depositions scheduled and determine           2.40       $2,064.00
                   which to monitor (.9); monitor David Davis
                   deposition (1.5).
10/24/13     BPG   Prepare for and participate on weekly                0.50         $332.50
                   Committee call (.5).
10/24/13     CWD   Monitoring Binning deposition, e-mails w/D.          3.70       $1,868.50
                   Lowenthal and B. Guiney re same, TC D.
                   Lowenthal re same (3.7).
10/24/13     DAL   Committee call (.5); review Dinning deposition       1.00         $860.00
                   summary (.5).
10/25/13     BPG   Monitor Beatty deposition, for part (3.2); work      4.50       $2,992.50
                   on summaries for next week's depositions (.4);
                   review claim objection, TC D. Lowenthal re:
                   same, TC B. Kahn re: same, follow-up re: same
                   (.9).
10/25/13     CWD   TC D. Lowenthal re claims objection, begin           1.00         $505.00
                   reviewing same, OC same re same (1.0).
10/25/13     DAL   Review hearing Agenda (.2); initial review of        1.20       $1,032.00
                   WT proof of claim objection (.8); e-mail J.
                   Heaney re same (.2).
10/27/13     DAL   E-mails with M. Riela, F. Hodara, and D.             0.30        $258.00
                   Botter re WT objection (.3).
10/28/13     BPG   Exchange e-mails re: WT motion, OC D.                4.90       $3,258.50
                   Lowenthal re: same and follow-up (.8); work
                   on letter to J. Gross re: same (3.6); finalize and
                   circulate same (.5).
10/28/13     CWD   E-mails re WT objection, OC B. Guiney re             1.10        $555.50
                   same, reviewing draft letter to J. Gross re same
                   (.9); e-mails re depositions, OC B. Guiney re
                   same (.2).




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                                                                          L0353-000007


10/28/13     DAL Outline issues for research re WT claims                    2.60      $2,236.00
                   objection (.7); e-mail to M. Riela, F. Hodara,
                   and D. Botter re WT objection (.1); review
                   scheduled depositions (.1); outline draft letter
                   to J. Gross (.2); conf. call re WT objection (.6);
                   follow-up re same (.9).
10/29/13     BPG      TC D. Lowenthal and J. Schiffrin re: claim             1.60      $1,064.00
                      objection, follow-up re: same, OC D.
                      Lowenthal re: same and additional follow-up
                      (.8); revise letter to J. Gross and re-circulate
                      (.6); review docket and 9019 motions (.2).
10/29/13     CWD Reviewing docket (.1); reviewing draft letter to          1.60          $808.00
                  J. Gross, OC B. Guiney re same (.3);
                  monitoring omnibus hearing (for part) (1.2).
10/30/13     CWD E-mails re revised letter to J. Gross, reviewing          0.40          $202.00
                   same, follow-up re same (.4).
10/30/13     DAL Draft response to WT claim objection (2.0); TC            3.20        $2,752.00
                   with bondholder's counsel (.2); memos to J.
                   Heaney (1.0).
10/31/13     BPG      Work on letter to J. Gross (.4); prepare for and     1.40          $931.00
                      participate on weekly Committee call, follow-
                      up re: same (1.0).
10/31 /13    CWD Monitoring Stevenson deposition (for part),               3.90        $1,969.50
                  mails re same w/D. Lowenthal and B. Guiney
                  (3.7); e-mails re draft letter to J. Gross, revising
                  same (.2).
10/31/13     DAL     TC with holder's counsel (.5); Committee call         2.10        $1,806,00
                     (1.3); e-mails with S. Miller re WT objection
                     (.2); work on response to WT objection (.1).

                                                      Total Services     119.30       $86,596,00


              Daniel A Lowenthal            55.70 hours at       $860.00 $47,902.00
              Craig W. Dent                 22.50 hours at       $505.00 $11,362.50
              Brian P. Guiney               41.10 hours at       $665.00 $27,331.50




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                   Filing Fees/Index Fees                                 263.00
                   Lexis Electronic Research                               42.36
                   Outside Professional Services                           58.00
                   Reproduction                                             4.35

                                                   Total Expenses                    $367.71


                                                   Total This Invoice              $86,963.71




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                       Patterson Belknap Webb &Tyler LIP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                            Invoice No. 787409
400 Madison Avenue                                                                 December 13, 2013
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                November 30, 2013 In Connection With The Following:


11/1/13          BPG       Confer with D. Lowenthal and S. Miller re:               0.50           $332.50
                           objection, follow-up re: same, consider same
                           (.5).
11/1/13          CWD       Monitoring Stevenson deposition (for part), e-           2.00         $1,010.00
                           mails re same w/D. Lowenthal and B. Guiney
                           (1.9); reviewing Agenda for 11/5 hearing, e-
                           mails re same w/D. Lowenthal (.1).
11/1/13          DAL       Prepare for and participate in call with re Aldn,        4.20         $3,612.00
                           Milbank, and Latham re WT objection (1.0);
                           analysis re WT objection with B. Guiney and S.
                           Miller (for part) (2.7); e-mails with holder's
                           counsel re next steps re WT (.3); updated legal
                           research assignment for response to WT
                           objection (.2).
11/3/13          BPG       Work on letter per D. Lowenthal, research                2.10         $1,396.50
                           additional issues (1.9); follow-up re: deposition
                           schedule (.2).
11/3/13          CWD       E-mails re letter to J. Gross and related research       0.20           $101.00
                           (.2).
11/3/13          DAL       E-mails with B. Guiney and C. Dent re legal              0.70           $602.00
                           research (.1); revise letter to J. Gross (.6).
11/4/13          BPG       Attention to deposition of D. Drinkwater (.2);           1.00           $665.00
                           OC C. Dent re: open issues and follow-up (.3);
                           TC D. Lowenthal re: same (.3); follow-up re:
                           Drinkwater deposition (.2).




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11/4/13      CWD OC B. Guiney re Nortel research, follow-up re            1.80        $909.00
                  same (1.8).
11/4/13      DAL     Work on WT issues (1.2); review depositions          0.70        $602.00
                     this week (.5).
11/5/13      BPG     Monitor Orlando deposition, (for part),              3.30      $2,194.50
                     circulate notes re: same (2.2); TC D. Lowenthal
                     re: open issues and follow-up (.3); TC C. Dent
                     re: research issues and follow-up (.2); follow-
                     up same re: briefing (.1); additional follow-up
                     C. Dent re: research issues, review certain cases
                     re: same (.5).
11/5/13      CWD Reviewing docket, OC D. Lowenthal re 11/5               3.10       $1,565.50
                  hearing (.2); follow-up research re claim
                  objection, OC B. Guiney re same, drafting
                  summary e-mail to same and D. Lowenthal re
                  same (2.3); follow-up re post-petition interest
                  issues (.6).
11/5/13      DAL TC F. Hodara re call to discuss WT objection             6.40      $5,504.00
                   (.2); leave detailed messages for A. Pisa and M.
                   Riela (.1); multiple e-mails with Akin,
                   Milbank, and Latham re adjournment of call
                   (.2); monitor Court hearing (.7); attention to
                   discovery issue with C. Dent (.1); memo to
                   team re next steps re WT objection (.4);
                   analyze PPI case law and WT objection (4.7).
11/6/13      BPG     OC D. Lowenthal re: PPI objection and follow-       3.40       $2,261.00
                     up (.6); participate on call re: response to WT
                     motion, follow-up re: same (.8); identify certain
                     cases and follow-up (.2); additional research
                     per D. Lowenthal (.6); begin drafting brief
                     (1.2).
11/6/13      CWD Monitoring Orlando deposition (for part), e-            2.60       $1,313.00
                  mails re same w/D. Lowenthal and B. Guiney
                  (1.7); OC D. Lowenthal re WT objection and
                  related issues (.2); follow-up re caselaw re WT
                  objection, OC L. Carvalho re same (.7).




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11/6/13      DAL   Confer with B. Guiney and C. Dent re WT             6.20      $5,332.00
                   objection (1.2); review case law (3.8);TCs with
                   other counsel re WT objection (.5); memo to J.
                   Heaney (.5); revise arguments; e-mails with
                   Akin re call to discuss next steps (.2).
11/6/13      LC    Organization of documents in connection with        5.00      $1,175.00
                   WT objection as per request of C. Dent (5.0).
11/7/13      BPG   Work on WT brief (.5); continue working on          5.10      $3,391.50
                   WT brief (.8); TC re: objection with D.
                   Lowenthal and Akin team, follow-up D.
                   Lowenthal re: same (.8); continue working on
                   brief (2.2); participate on weekly Committee
                   call (.5); follow-up re: objection, confer D.
                   Lowenthal re: same, C. Dent re: same (.3).
11/7/13      CWD   OC B. Guiney re brief research, follow-up re        0.90        $454.50
                   same (.6); Committee call (for part), OC D.
                   Lowenthal re same (.3).
11/7/13      DAL   Review case law re WT objection (1.0); TC           4.40      $3,784.00
                   Akin re WT objection (.2); e-mails and tc M.
                   Riela re same (.2);          WT's counsel
                   suggesting a meet and confer (.2); outline
                   objection issues with B. Guiney (for part) (.4);
                   review upcoming depositions to monitor (.5);
                   review letter from NNUK Pension Plan's
                   counsel to Monitor's counsel re alleged conflict
                   of interest (.2); prepare for and participate in
                   Committee call (1.0); work further on WT
                   issues (.7).
11/7/13      LC    Organization of documents in connection with       7.60       $1,786.00
                   WT objection as per request of C. Dent (7.6).
11/8/13      BPG   TC C. Dent re: depositions (.1); follow-up D.      0.30         $199.50
                   Lowenthal re: objection and other issues (.2).
11/8/13      CWD   Reviewing docket (.1); TC Ellen Grauer re          0.50         $252.50
                   depositions, OC D. Lowenthal re same and
                   follow-up re same (.3); OC D. Lowenthal re
                   WT objection (.1).




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11/8/13      DAL     E-mails with counsel to set up conference call      3.20      $2,752.00
                     re WT claim (.3); review Goodman's letter re
                     conflict issues (.2); work on draft response to
                     WT objection (2.7).
11/10/13     DAL Draft response to WT claim objection (2.00).            2.00      $1,720.00
11/11/13     BPG     Prepare for and participate on conference call      1.60      $1,064.00
                     re: objection, follow-up re: same (.8); follow-
                     up C. Dent re: same (.1); obtain PPI brief and
                     begin outlining same (.2); work on deposition
                     calendar (.5).
11/11/13     CWD OC B. Guiney re WT call (.1); e-mails re               0.20         $101.00
                  depositions (.1).
11/11/13     DAL Conf call with WT's counsel and counsel for             5.10      $4,386.00
                   the US Debtors, Committee, BNY Mellon and
                   ad hocs to discuss WT objection and follow-up
                   with B. Guiney (1.0); work on fee statement
                   (.5); draft response to WT claim objection
                   (3.4); TC holders' counsel re WT objection
                   issues (.2).
11/12/13     BPG    Monitor deposition of P. Look (for part) (1.8);     4.90       $3,258.50
                    TC D. Lowenthal re: same and re: open issues
                    (.1); review e-mails and follow-up B. Kahn re:
                    conference (.2); work on PPI brief (1.4); work
                    on procedural brief (1.2); follow-up D.
                    Lowenthal re: same (.2).
11/12/13     DAL    Draft opposition to WT claim objection (3.6);       4.00       $3,440.00
                    review draft motion to adjourn and e-mails with
                    counsel for Committee counsel re same (.4).
11/13/13     BPG     Review revised motion, consider same with D.       1.90       $1,263.50
                     Lowenthal, follow-up re: same, attention to
                     issuer question (.6); work on PPI brief, follow-
                     up D. Lowenthal re: same (1.2); TC D.
                     Lowenthal re: e-mails related to status
                     conference (.1).




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 11/13/13    DAL Review updated motion to adjourn and work on             4.10     $3,526.00
                   response to objection (2.6); e-mails with
                   holders' counsel re WT status conference (.1);
                   review response to WT claims objection and
                   prepare for Court status conference (1.2);
                   confer with B. Guiney re court hearing (.2).
11/14/13     BPG     Prepare for and participate on weekly                2.40     $1,596.00
                     committee call, follow-up re: same, follow-up
                     re: conference (1.5); review draft motion and
                     extended timetable (.2); participate on
                     conference call re: status conference and
                     follow-up re: same (.5); follow-up re:
                     Monitor's reservation of rights (.1); OC C.
                     Dent re: open issues (.1).
11/14/13     DAL     Court hearing (.2); Committee call; group call       2.20     $1,892.00
                     re status conference (.5): review Monitor's
                     reservation of rights (.2); review updated
                     hearing Agenda (.1).
11/15/13     BPG Review docket (.1); OC D. Lowenthal re:              0.50          $332.50
                   conference (.2); follow-up re: same (.2).
11/15/13     DAL Prepare for and participate in Court status          3.00        $2,580.00
                   conference and follow-up with J. Heaney and
                   counsel for holder (2.3); review report from
                   Committee's counsel (.1); attend to deposition
                   issues (.6).
11/16/13     BPG     Review docket, review emails related to          1.10          $731.50
                     discovery and other issues (.3); update
                     deposition chart (.8).
11/17/13     DAL Review summaries of upcoming depositions to          1.30        $1,118.00
                   consider which to monitor/attend (.9); review
                   letters from Canadian counsel re alleged
                   conflict issue and US Debtors' response (.3); e-
                   mail to B. Guiney and C. Dent re deposition
                   issue (.1).




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11/18/13     BPG      Attention to deposition issues (.1); review         0.90        $598.50
                      docket (.1); follow-up D. Lowenthal re:
                      deposition schedule (.1); review objection to
                      motion, follow-up re: same, attention to e-mails
                      re: same, follow-up C. Dent and D. Lowenthal
                      re: same (.6).
11/18/13     CWD E-mails re depositions (.1); reviewing docket           1.50         $757.50
                   (.1); e-mails and follow-up re clawback
                   requests (.2); revising fee statement (.4);
                   reviewing Ad Hoc Bondholder Group's
                   objection to motion to amend allocation
                   protocol, e-mails re same, OC D. Lowenthal re
                  same (.7).
11/18/13     DAL Review hearing Agenda (.2); work on                     3.40       $2,924.00
                   deposition issues (.4); review papers in
                   preparation for Court hearing (.3); confer with
                   B. Guiney re upcoming depositions and Court
                   hearing (.2); review bondholder response to
                   motion to extend trial schedule and follow-up
                   (.7); e-mail J. Heaney re same (.1); e-mail
                   Committee re same (.1); TC Akin re
                   bondholders' opposition (.2); e-mail update to
                   J. Heaney (.3); confer with C. Dent (.5); memo
                   to files re Court hearing on WT's claim
                   objection (.2); prepare for Court hearing (.2).
11/19/13     BPG     Follow-up re: hearing (.1); attention to report     1.00        $665.00
                     from hearing, attention to fee issues and
                     follow-up (.4); additional follow-up related to
                     same, including e-mails with D. Lowenthal and
                     OC C. Dent (.5).
11/19/13     CWD E-mails from Committee re hearing and                   3.50       $1,767.50
                   bondholder issues (.2); reviewing e-mails re
                   deposition calendar (.2); reviewing docket (.1);
                   TC D. Lowenthal and S. Miller re 11/19
                   hearing and fee issues, follow-up re same, TC
                   E. Lamek and J. Heaney re same, e-mails re
                  same w/accounting department, TC B. Kahn
                  and D. Lowenthal re same, drafting e-mail to
                   Goodmans re same, e-mails w/same re same,
                  OC B. Guiney re same (2.8); OC D. Lowenthal
                   re 11/19 hearing (.2).



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11/19/13     DAL Prepare for and attend Court hearing and              10.50      $9,030.00
                   related follow-up (7.5); detailed work to obtain
                   and produce fee information requested by J.
                   Morawetz, including confer with S. Miller, TCs
                   and e-mails with B. Guiney and C. Dent, and
                   review draft e-mail to Goodmans (3.0).
11/20/13     CWD Follow-up re clawback requests (.1); reviewing          2.60     $1,313.00
                   docket and UK Pension letter to J. Gross (.2);
                   e-mails w/S. Miller re fee certification (.2); TC
                   C. Armstrong re fee certification, OC B.
                   Guiney re same, TC D. Lowenthal re same,
                   drafting letter to Goodmans re same (1.9);
                   revising fee statement; e-mail to D. Lowenthal
                   re same (.2).
11/20/13     DAL Work on billing issues (.2); review UK Pension          2.00     $1,720.00
                  claimants' pleading (.4); attention to J.
                  Morawetz's request for fee information,
                  including e-mail from C. Dent and TC with C.
                  Dent reporting on his call with C. Armstrong
                  (.4); revise and complete letter to Goodmans re
                  fees billed for allocation proceeding per request
                  for J. Morawetz (1.0).
11/21/13     BPG Participate on weekly Committee call and                1.20       $798.00
                   follow-up (1.0); follow-up C. Dent re:
                   submission to J. Morawetz, review same (.2).
11/21/13     CWD Reviewing docket (.2); Committee call, OC D.          1.20         $606.00
                  Lowenthal and B. Guiney re same (1.0).
11/21/13     DAL Committee call (1.0); follow-up with Akin re            2.60     $2,236.00
                   deposition summaries (.1); review revised
                   litigation schedule (.7); work on fee statement
                   (.8).
11/22/13     BPG   Review docket, review order on litigation           0.40         $266.00
                   timetable (.1); confer D. Lowenthal re: fees and
                   expenses (.2); follow-up re: upcoming
                   depositions (.1).
11/22/13     CWD E-mails re fee filing, reviewing same, OC D.          0.40        $202.00
                   Lowenthal re same (.4).




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11/22/13     DAL   Review proposed Order amending allocation              4.10        $3,526.00
                   trial schedule and e-mail same to J. Heaney
                   (1.6); review deposition schedule to determine
                   which to monitor (.9); analysis of fee report
                   (1.6).
11/25/13     BPG   Monitor Weisz deposition (for part) (2.3);             4.40        $2,926.00
                   continue monitoring same (1.6); continue
                   monitoring same and circulate notes re: same
                   (.3).
11/25/13     DAL   Review e-mails re amended scheduling Order             0.30          $258.00
                   (3).
11/26/13     BPG   Follow-up re: Weisz depo (.1); follow-up re:           0.20          $133.00
                   McDonald depo and other issues (.1).
11/26/13     DAL   Monitor the Monitor's deposition (6.8); e-mails        6.90        $5,934.00
                   with F. Hodara re deposition summaries (.1).
11/27/13     DAL   Deposition analysis (.6); review scheduling            2.10        $1,806.00
                   Order re Canadian employees' motion to file
                   late filed claims (.3); review hearing Agenda
                   and related matters (.4); review updated
                   schedule re allocation proceeding (.8).

                                                   Total Services       148.70      $105,670.50


             Daniel A Lowenthal         79.40 hours at $860.00 $68,284.00
             Craig W. Dent              20.50 hours at $505.00 $10,352.50
             Brian P. Guiney            36.20 hours at $665.00 $24,073.00
             Leonardo Carvalho          12.60 hours at $235.00 $2,961.00


                   Deposition Transcripts                                   86.00
                   Filing Fees/Index Fees                                  402.00
                   Lexis Electronic Research                               604.18
                   Outside Professional Services                           105.70
                   Tvl. Transportation/Lodging                             277.00

                                                   Total Expenses                     $1,474.88


                                                   Total This Invoice               $107.145.34



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                       Patterson Belknap Webb & 'Tyler up
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                            Invoice No. 789520
400 Madison Avenue                                                                 January 14, 2014
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
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12/2/13          BPG       Review docket (.1); confer C. Dent re: open              1.20           $798.00
                           issues (.1); review notes from McDonald
                           deposition (.1); update deposition summary
                           spreadsheet and follow-up D. Lowenthal re:
                           same (.9).
12/2/13          CWD Reviewing docket (.4); reviewing Core Party e-                 1.30           $656.50
                      mails re revised scheduling Order (.2); TC D.
                       Lowenthal re omnibus hearing, follow-up re
                      same (.2); TC and OC B. Guiney re
                      depositions, follow-up re deposition calendar
                      (.5).
12/2/13          DAL       Attention to deposition issues (3.1).                    3.10         $2,666.00
12/3/13          BPG       Attention to deposition schedule, consider same          0.20           $133.00
                           with C. Dent and D. Lowenthal (.1); confer C.
                           Dent re: clawback notices (.1).
12/3/13          CWD TC B. Guiney re clawback request issue (.1); e-                0.20           $101.00
                      mails re Committee call and deposition
                      calendar (.1).
12/3/13          DAL       Work on project list (.2).                               0.20           $172.00
12/5/13          BPG       Prepare for and participate on Committee call,           4.20         $2,793.00
                           follow-up re: same (1.4); follow-up re:
                           depositions, other open issues (.5); monitor
                           Doolittle deposition (for part), circulate notes
                           re: same (2.3).




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12/5/13      CWD Monitoring Doolittle deposition (for part), e-          1.70        $858.50
                  mails re same to D. Lowenthal and B. Guiney,
                  OC B. Guiney re same (1.7).
12/5/13      DAL Review update re Committee call and                     1.10        $946.00
                   deposition report (1.1).
12/6/13      BPG     Attention to e-mails re: discovery (.2).            0.20        $133.00
12/6/13      CWD E-mails re clawback requests and Doolittle              0.10         $50.50
                   deposition (.1).
12/6/13      DAL Work on escrowed funds issue (.8); review               2.60      $2,236.00
                  Third Circuit decision (1.5); attention to fee
                  issues (.3).
12/9/13      CWD Reviewing docket (.1); revising monthly fee             0.30        $151.50
                  statement, note to accounting department re
                  same (.2).
12/11/13     BPG     Attention to e-mails re: meet and confer,           0.40        $266.00
                     representative party depositions (.2); confer C.
                     Dent re: same (.1); confer D. Lowenthal re:
                     same (.1).
12/11/13     CWD E-mails re representative party depositions and         0.60        $303.00
                   meet and confer (.5); reviewing docket (.1).
12/11/13     DAL Attention to representative party depositions,          3.30      $2,838.00
                   including review of multiple e-mails re same
                   and upcoming allocation trial scheduling issues
                   (2.8); prepare for Committee call (.5).
12/12/13     BPG     Attention to e-mails re: meet and confer,           2.40      $1,596.00
                     representative party depositions (.2); review
                     agenda and prepare for Committe call (.1);
                     participate on Committee call and follow-up
                     (1.5); follow-up C. Dent re: trial protocol, Ray
                     deposition, review trial protocol and follow-up
                     re: same (.4); additional e-mails and follow-up
                     re: trial preparation and depositions (.2).




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12/12/13     CWD E-mails re meet and confer and representative           2.00      $1,010.00
                   party depositions (.3); TC B. Guiney re
                   Committee call, TC D. Lowenthal re
                   depositions and allocation trial, follow-up re
                   same (.3); reviewing trial protocol and
                   litigation timetable re same, leave message for
                   M. Riela re same, TC R. Johnson re same, TC
                   M. Riela re same, OC B. Guiney re same (1.2);
                   finalizing fee statement (.2).
12/12/13     DAL Attention to deposition issues and trial                3.70      $3,182.00
                   scheduling issues (2.7); Committee call (1.0).
12/13/13     BPG     Attention to e-mails re: settlement, review same    0.80        $532.00
                     and follow-up (.6); follow-up re: Ray
                     deposition (.2).
12/13/13     CWD Monitoring Ray deposition (for part), e-mails re        2.90      $1,464.50
                  same w/D. Lowenthal and B. Guiney (2.5); e-
                  mails from Committee re EMEA settlement;
                  reviewing docket and Agenda for upcoming
                  omnibus hearing, TC D. Lowenthal re same
                  (.1); e-mails re representative party depositions
                  and question lists (.3).
12/13/13     DAL Work on fee statement (1.0); review draft               2.60      $2,236.00
                  settlement agreement with EMEA Debtors and
                  UK Pension parties (1.6).
12/14/13     CWD E-mails and follow-up re representative party           0.30        $151.50
                   deposition question lists (.3).
12/15/13     CWD E-mails re representative party depositions (.1).       0.10         $50.50
12/16/13     BPG Review revised motion and settlement                    0.70        $465.50
                   agreement (.3); confer C. Dent re: open issues
                   (.1); review e-mails re: representative witnesses
                   (.1); attention to final version of EMEA
                   settlement, follow-up e-mails re: same (.2).
12/16/13     CWD E-mails re representative party depositions,            0.90        $454.50
                   reviewing amended list re same (.3); revising
                   draft trial protocol, e-mails re same w/D.
                   Lowenthal and M. Riela (.5); reviewing docket
                   (.1).




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12/16/13     DAL Review updated EMEA settlement papers, e-                 1.30      $1,118.00 •
                   mail Law Debenture and Akin re same, review
                   Goodmans and WT e-mail re trial protocol, e-
                   mail Law Debenture re same; TC and e-mails
                   with C. Dent re same; e-mail M. Riela re same
                   (1.3).
12/17/13     BPG Review C. Dent changes to trial protocol and              1.70      $1,130.50
                   follow-up (.3); follow-up C. Dent re: same, re:
                   other open issues (.3); review e-mails re:
                   discovery, follow-up re: meet and confer (.2);
                   review docket (.1); additional follow-up C.
                   Dent re: trial protocol and review comments to
                   same (.2); review Cleary draft trial protocol and
                   follow-up re: same (.6).
12/17/13     CWD Revising Canadian Debtors' draft trial protocol,          1.70        $858.50
                  OC B. Guiney re same, e-mails re same w/D.
                  Lowenthal, B. Guiney, M. Riela and J.
                  Rosenthal, TC D. Lowenthal re same (.8);
                  reviewing US Debtors' draft protocol, e-mails
                  re same w/D. Lowenthal and B. Guiney (.9).
12/17/13     DAL Review US Debtors' settlement motion with                 2.80      $2,408.00
                   EMEA Debtors and UK Pension parties (.5);
                   revise trial protocol (1.1); send draft to US
                   Debtors and Committee counsel (.5); review
                   US Debtors' trial protocol (.7).
12/18/13     BPG     Review docket, attention to e-mails re: trial         0.70        $465.50
                     protocol (.2); review letters related to discovery
                     and representative witness depositions (.4);
                     follow-up re: trial protocol (.1).
12/18/13     CWD TC D. Lowenthal re draft trial protocols and              0.40        $202.00
                  related issues (.1); reviewing e-mails and letters
                  re representative party depositions, OC D.
                  Lowenthal re same (.3).
12/18/13     DAL     Attention to Debtors' draft trial protocol (1.6);     2.80      $2,408.00
                     TC and e-mails with Debtors' counsel re same
                     (.2); e-mail J. Heaney re upcoming meet and
                     confer re trial protocol (.8); review letters re
                     deposition witnesses (.2).




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                                                                           L0353-000007


12/19/13     BPG      Review e-mails re: meet and confer, follow-up          1.20       $798.00
                      re: same (.2); review agenda for Committee
                      call, participate on same, circulate notes re:
                      same (.7); follow-up C. Dent and D. Lowenthal
                      re: meet and confer (.1); additional follow-up
                      re: same (.2).
12/19/13     CWD E-mails re representative party depositions and             2.00     $1,010.00
                   letters re same (.3); group call re trial protocols,
                   TC D. Lowenthal re same (1.6); e-mails re
                   Committee call (.1).
12/19/13     DAL      Core Parties' call re trial protocol (2.2); e-mail     2.40     $2,064.00
                      to J. Heaney re same (.2).
12/20/13     BPG      Confer C. Dent re: quarterly client update, draft      1.80     $1,197.00
                      same, follow-up re: same (1.8).
12/20/13     CWD OC B. Guiney re client update, follow-up re                1.40        $707.00
                  same, revising same (1.2); reviewing docket
                  (.2).
12/21/13     CWD Revising case update, e-mails re same (.2).                 0.20       $101.00
12/22/13     DAL Revise client update (1.0).                                1.00        $860.00
12/23/13     BPG      Review final version of quarterly client update        0.70       $465.50
                      (.1); review letters to Court and correspondence
                      re: same, follow-up re: same (.6).
12/23/13     CWD OC B. Guiney re representative party                       0.20        $101.00
                  depositions and Court filings (.1); reviewing
                  docket (.1).
12/24/13     BPG      Review additional letters to Court, follow-up         0.50        $332.50
                      re: hearing (.5).
12/24/13     CWD Reviewing e-mails and letters re representative            0.20        $101.00
                  party depositions and 1/7 hearing (.2).
12/30/13     BPG      Review docket (.1); review e-mails re: meet            0.70       $465.50
                      and confer, re: motion to Canadian Court, TC
                      C. Dent re: same, follow-up D. Lowenthal re:
                      same (.3); review M. Riela comments to trial
                      protocol, follow-up re: same (.3).
12/30/13     CWD TC B. Guiney re trial protocol, e-mails re same            0.10         $50.50
                  (.1).




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12/31/13     BPG    Confer D. Lowenthal re: status and follow-up          0.50         $332.50
                    (.1); review US Debtors' motion in Canada,
                    review e-mails related to same (.4).
12/31/13     DAL    Attention to US Debtors' motion re                    0.30         $258.00
                    representative party depositions (.3).

                                                    Total Services       61.70       $43,678.50


              Daniel A. Lowenthal         27.20 hours at      $860.00 $23,392.00
              Craig W. Dent               16.60 hours at      $505.00 $8,383.00
              Brian P. Guiney             17.90 hours at      $665.00 $11,903.50


                    Deposition Transcripts                                  925.00
                    Filing Fees/Index Fees                                   30.00
                    Local Travel & Fares                                    132.16
                    Outside Professional Services                         5,988.00
                    Reproduction                                             11.00
                    Tvl. Transportation/Lodging                              10.30

                                                    Total Expenses                    $7,096.46


                                                    Total This Invoice           —1.5.11212§




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                       Patterson Belknap Webb &Tyler LLP
             1133 Avenue of the Americas New York. NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                             Invoice No. 791320
400 Madison Avenue                                                                  February 14, 2014
New York, NY 10017                                                                  FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                 January 31, 2014 In Connection With The Following:


1/2/14           CWD Reviewing BNY mark-up of draft trial protocol                  1.20           $684.00
                      and OC D. Lowenthal re same (.8); reviewing
                      docket and Court calendar, follow-up re 1/7
                      hearing (.1); reviewing letters re motion to
                      dispense with representative party discovery
                      (.3).
1/2/14           DAL Attention to upcoming meet and confer and                      0.30           $268.50
                       Court hearing with C. Dent (for part) (.3).
1/3/14           BPG       Review pleadings and e-mails i/c/w                       1.70         $1,173.00
                           representative party depositions (1.2); review
                           docket, review Canadian pleadings related to
                           settlement agreement (.5).
1/3/14           CWD Reviewing e-mails and factums re                               0.60           $342.00
                      representative party depositions (.3); reviewing
                      Canadian estate's supplemental response and
                      limited objection to U.S.-EMEA settlement, e-
                      mails re same w/D. Lowenthal (.3).
1/3/14           DAL Attention to US Debtors'motion re                              6.70         $5,996.50
                       representative party depositions, including
                       review of multiple pleadings filed by Core
                       Parties in both Delaware and Toronto (4.4);
                       review motion papers and responses re US
                       Debtors'motion to settle with EMEA (2.0);
                       review hearing Agenda (.2); e-mails with S.
                       Miller re hearing (.1).




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 1/6/14      BPG Review CCC e-mails from D. Lowenthal (.2);               1.50     $1,035.00
                   review leave to file reply and proposed reply,
                   follow-up (.3); review Committee joinder,
                   follow-up re: same (.2); OC D. Lowenthal re:
                   open issues (.2); confer C. Dent re: trial
                   protocol, meet and confer, other open issues
                   (.2); review U.S. Debtors'letter re:
                   representative party depositions (.3); review
                   Agenda, follow-up re: hearing, follow-up re:
                   Court Call (.1).
1/6/14       CWD Reviewing e-mails and filings re January 7               1.80     $1,026.00
                  hearing, TC D. Lowenthal re same, OC D.
                  Lowenthal and B. Guiney re same (1.4);
                  reviewing docket (.4).
1/6/14       DAL Review additional motion papers filed re US              6.20     $5,549.00
                   Debtors'-EMEA settlement and US
                   Debtors'motion to eliminate representative
                   party depositions (4.5); TC S. Miller January 7
                   Court hearing (.3); review Agenda (.2); e-mail
                   Core Parties re meet and confer (.2); email J.
                   Heaney re Court hearing (.2); prepare for same
                   (.8).
1/7/14       BPG     Attention to hearing, follow-up re: reservation,     5.70     $3,933.00
                     TC Court Call re: same, confer D. Lowenthal
                     re: same, confer C. Dent re: same (.5); monitor
                     hearing and follow-up re: same (4.9); follow-up
                     re: meet and confer, review e-mails re: same
                     (.1); review docket, review MOR (.2).
1/7/14       CWD Reviewing docket (.2); e-mails w/D. Lowenthal            3.90     $2,223.00
                  and B. Guiney re 1/7 hearing, OC B. Guiney re
                  same (.2); monitoring hearing (for part) (3.3);
                  follow-up re 1/8 hearing, TC D. Lowenthal re
                  same (.2).
1/7/14       DAL Court hearing in Delaware (9.3); e-mail J.               9.40     $8,413.00
                   Heaney re same (.1).




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1/8/14       BPG     Follow-up re: hearing, obtain Court Call              1.50     $1,035.00
                     reservation (.1); confer C. Dent re: same (.1);
                     attention to e-mails re: trial protocol (.1);
                     monitor Court hearing and follow-up re: same
                     (1.0); review e-mails related to same, follow-
                     up, review docket (.2).
1/8/14       CWD E-mails re trial protocol, reviewing Wilmington           1.00       $570.00
                   Trust comments re same (.1); monitoring
                   hearing, OC D. Lowenthal and B. Guiney re
                   same (.9).
1/8/14       DAL Attention to January 10 meet and confer (.2);             2.70     $2,416.50
                    Court hearing and follow-up (2.3); review
                    comments to draft Trial Protocol (.2).
1/9/14       BPG     Review docket, review fee application (.2);           2.00     $1,380.00
                     review e-mails re: expert witnesses (.3); review
                     materials for Committee call, prepare for and
                     participate on same and follow-up C. Dent re:
                     same (1.0); follow-up D. Lowenthal re: same
                     (.5).
1/9/14       CWD Reviewing e-mails and letters re expert                   1.50       $855.00
                  designations (.3); Committee call, OC B.
                  Guiney re same (.7); OC D. Lowenthal re meet
                  and confer (.2); revising monthly fee statement,
                  note to accounting department re same (.3).
1/9/14       DAL Review expert witness designations (.5);                  2.20     $1,969.00
                   Committee call (.5); work on fee issues (1.2).
1/10/14      BPG Update with D. Lowenthal re: meet and confer,             0.60       $414.00 .
                   review docket, review and consider update
                   from D. Botter re: allocation and follow-up,
                   review Capstone declaration and follow-up (.6)
1/10/14      CWD E-mails from Committee re EMEA settlement                 0.10        $57.00
                   discussions (.1).
1/10/14      DAL     Meet and confer at Cleary re joint trial protocol     7.90     $7,070.50
                     and representative depositions (7.9).
1/13/14      BPG     Review docket (.1); confer D. Lowenthal re:           0.50       $345.00
                     trial protocol and meeting re: same (.3); follow-
                     up C. Dent re: same (.1).




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1/13/14       CWD   TC D. Lowenthal re allocation meet and confer         0.30        $171.00
                    (.3)-
1/13/14       DAL   Follow-up re trial protocol (.6).                     0.60        $537.00
1/14/14       BPG   Follow-up re: deposition summaries (.2);              0.50        $345.00
                    attention to trial protocol (.3).
1/14/14       CWD   Revising monthly fee statement, e-mails re            1.40        $798.00
                    same w/D. Lowenthal (.2); reviewing docket
                    (.1); e-mails re deposition summaries and trial
                    preparation, TC D. Lowenthal re same, OC B.
                    Guiney re same (.5); reviewing revised trial
                    protocol (.6).
1/14/14       DAL   Attention to fact depositions (.1); attention to      1.10        $984.50
                    fee statement and draft trial protocol (1.0).
1/15/14       CWD   Reviewing docket (.1); leave message for C.           0.60        $342.00
                    Doniak re deposition summaries (.2); e-mails re
                    trial protocol w/D. Lowenthal, follow-up re
                    same (.3).
1/15/14      DAL    Attention to draft trial protocol revisions (3.1).    3.10      $2,774.50
1/16/14      BPG    Review agenda, confer D. Lowenthal and                1.40        $966.00
                    prepare for (.3); and participate on weekly
                    Committee call and follow-up re: same (1.1).
1/16/14      CWD    Reviewing e-mails re clawback requests and            1.60        $912.00
                    trial protocol (.2); Committee call, TC D.
                    Lowenthal re same, OC B. Guiney re same
                    (1.1); reviewing docket (.1); begin reviewing
                    draft expert report (.2).
1/16/14      DAL    Prepare for and participate in Committee call         2.10      $1,879.50
                    (1.4); attention to fee statement (.3); e-mails
                    with M. Riela re meeting (.1); attention to
                    expert report (.3).
1/17/14      CWD    Emails re expert report, finish reviewing same        0.50        $285.00
                    (.5).
1/17/14      DAL    Review draft Committee expert report (1.6).           1.60      $1,432.00
1/19/14      CWD    Reviewing UKP and EMEA Debtors'                       0.30        $171.00
                    comments to trial protocol, e-mails re same
                    w/D. Lowenthal and B. Guiney (.3).




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1/20/14      BPG     Review e-mails re: trial protocol, re: expert         0.40      $276.00
                     reports and follow-up (.4).
1/20/14      CWD E-mails re trial protocol, reviewing UKP                  0.20      $114.00
                   comments re same (.2).
1/20/14      DAL Attention to expert reports, including TC and e-          0.50      $447.50
                   mails with A. Qureshi, L. Schweitzer and M.
                   Riela (.5).
1/21/14      BPG     Review draft Committee expert report, e-mail          2.00     $1,380.00
                     D. Lowenthal and C. Dent re: same (1.7);
                     review e-mails related to debtor expert reports
                     and follow-up (.1); follow-up e-mails re: same
                     (.2).
1/21/14      CWD E-mails re Debtors'and Committee's expert                 3.70     $2,109.00
                   reports, call re same w/L. Schweitzer, A.
                   Qureshi and M. Riela, reviewing reports at
                   Akin re same, OC A. Qureshi re same (3.4); TC
                   C. Doniak re deposition summaries, e-mails re
                   same w/D. Lowenthal and B. Guiney (.3).
1/21/14      DAL Attention to draft expert reports, including TC           4.30     $3,848.50
                   with L. Schweitzer and M. Riela and review of
                   draft reports at Akin (4.3).
1/22/14      BPG Review docket (.1); TC D. Lowenthal re:                   1.10      $759.00
                   expert reports, follow-up (.3); TC C. Dent re:
                   same and follow-up (.2); review e-mails re:
                   trial protocol / meet and confer and follow-up
                   re: same (.2); review additional e-mails re:
                   same, follow-up re: same and confer C. Dent
                   re: same (.3).
1/22/14      CWD OC B. Guiney re Debtors'expert reports and                1.10      $627.00
                  deposition summaries (.2); e-mails re trial
                  protocol, reviewing revised version of same,
                  TC D. Lowenthal and B. Guiney re same (.9).
1/22/14      DAL     Attention to expert reports (1.4); attention to       3.00     $2,685.00
                     trial protocol (1.6).




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1/23/14      BPG     Review fee reports (.2); prepare for and               3.20      $2,208.00
                     participate on weekly Committee call and
                     follow-up re: same (1.0); review trial protocol
                     and follow-up C. Dent and D. Lowenthal re:
                     same (.5); review additional e-mails re: same
                     (.2); follow-up, prepare for and participate on
                     call re: trial protocol (1.3).
1/23/14      CWD Preparing for and participating in Committee               6.10      $3,477.00
                   call (.7); e-mails re Debtors'expert reports,
                   reviewing same at Aldn (2.9); e-mails re
                   revised trial protocol, reviewing same, OC D.
                   Lowenthal and B. Guiney re same (2.5).
1/23/14      DAL Attention to expert reports, including detailed            5.20      $4,654.00
                   review of US Debtors'reports at Akin and e-
                   mails with A. Qureshi re same (4.2);
                   Committee call and related follow-up (1.0).
1/24/14      BPG     E-mails re: trial protocol, follow-up re: same         0.80        $552.00
                     (.2); confer C. Dent and D. Lowenthal re: same,
                     follow-up re: same (.3); review docket, review
                     filed version of trial protocol and cover letter,
                     follow-up re: same (.3).
1/24/14      CWD E-mails re revised trial protocol, reviewing               1.30        $741.00
                   same, OC B. Guiney re same, TC D. Lowenthal
                   re same, follow-up re same w/managing clerk's
                   office (.9); reviewing letters to Courts re trial
                   protocol (.3); e-mails re expert reports (.2).
1/24/14      DAL     Attention to trial protocol (2.0); review              4.50      $4,027.50
                     upcoming discovery and case issues with M.
                     Riela (for part) (1.5); attention to expert reports
                     (1.0).
1/25/14      BPG Begin downloading and reviewing expert                     2.20      $1,518.00
                   reports, review EMEA expert reports (2.2).
1/27/14      BPG     Review US Debtors'expert reports (3.2);                3.40      $2,346.00
                     follow-up re: hearing (.1); review docket (.1).
1/27/14      CWD TC D. Lowenthal re expert reports, OC 13.                  4.10      $2,337.00
                  Guiney re same, follow-up re same (.5), begin
                  reviewing same (3.5); reviewing docket and
                  Agenda for 1/29 hearing (.1).




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1/27/14       DAL Review trial protocol filed with the Courts and         4.50     $4,027.50
                    related filings by the CCC, the UKPC and
                    EMEA, the Canadian Monitor and the
                    Canadian Debtors, the Order Amending
                    Litigation Schedule in the Joint Cross-Border
                    Proceedings, and the Court Agenda for the
                    January 29 hearing (3.5); review expert reports
                    (1.0).
1/28/14       BPG     Follow-up re: hearing, e-mails and TCs re:          3.10     $2,139.00
                      same (.3); reviewing UKP expert reports (2.5);
                      review submission from Canadian Monitor re:
                      trial protocol and follow-up. (.3).
1/28/14       CWD Reviewing docket and hearing schedule, e-               2.80     $1,596.00
                   mails re same w/managing clerk's office (.2);
                   continue reviewing expert reports re allocation,
                   e-mails w/D. Lowenthal re same (2.4);
                   reviewing Canadian Debtors'filing re trial
                   protocol and related issues (.2).
1/28/14       DAL Analyze trial protocol issues and drafts and tc         5.60     $5,012.00
                    S. Miller re same (4.9); TC F. Hodara re case
                    issue and follow-up e-mail to J. Heaney (.7).
1/29/14       BPG     Attention to pre-trial conference, change Court     3.30     $2,277.00
                      Call reservation, monitor same, follow-up re:
                      same (3.2); review e-mail re: same (.1).
1/29/14       CWD Monitoring hearing (for part), OC B. Guiney re          2.50     $1,425.00
                   same, OC D. Lowenthal re same, reviewing e-
                   mail from Committee re same (2.3); reviewing
                   docket (.2).
1/29/14      DAL      Court hearing (8.9); e-mail update to J. Heaney     9.60     $8,592.00
                      (.7).
1/30/14      BPG      Prepare for and participate on weekly               4.20     $2,898.00
                      Committee call, follow-up re: same with D.
                      Lowenthal and C. Dent (1.2); review e-mails
                      and drafts re: pre-trial memorandum (.4);
                      follow-up D. Lowenthal re: expert reports (.2);
                      review Canadian allocation materials (2.4).




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1/30/14      CWD E-mails re expert reports (.2); Committee call            2.70          $1,539.00
                   (.9), OC D. Lowenthal and B. Guiney re same
                   and expert reports (.4); reviewing post-hearing
                   memorandum, follow-up w/managing clerk's
                   office re same (.2); reviewing docket (.1);
                   reviewing expert reports re allocation (.9).
1/30/14      DAL Review expert reports (1.6); Committee call               3.60          $3,222.00
                   and related follow-up (2.0).
1/31/14      BPG     Complete review of expert reports, prepare            2.90          $2,001.00
                     chart summarizing same and prepare issues list
                     (2.9).
1/31/14      CWD E-mails re meet and confer and revised pre-trial          0.50           $285.00
                   conference memorandum, reviewing same (.2);
                   reviewing Agenda for 2/4 hearing (.1); e-mails
                   re bondholder group request re discovery
                   documents (.1); reviewing docket (.1).
1/31/14      DAL Review updated draft memorandum re status                  1.40         $1,253.00
                   conference results (.7); review bondholder
                   request re protective Order and e-mail to J.
                   Heaney re same (.1); review hearing Agenda
                   (.2); review J. Rosenthal suggestions to
                   memorandum (.4).

                                                     Total Services       167.90       $128,725.50


              Daniel A Lowenthal         86.10 hours at        $895.00 $77,059.50
              Brian P. Guiney            42.00 hours at        $690.00 $28,980.00
              Craig W. Dent              39.80 hours at        $570.00 $22,686.00


                     Deposition Transcripts                                 1,165.50
                     Outside Professional Services                          1,278.75
                     Reproduction                                               0.45
                     Tvl. Transportation/Lodging                              125.18

                                                     Total Expenses                      $2,569.88


                                                     Total This Invoice            ,$131,295 38




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